Official Form 1 (1/08)
                                                             United States Bankruptcy Court                                                                                                   Voluntary Petition
                                                         NORTHERN DISTRICT OF CALIFORNIA
 Name of Debtor             (if individual, enter Last, First, Middle):                                               Name of Joint Debtor                 (Spouse)(Last, First, Middle):


 Mangan, Barry Thomas                                                                                                 Mangan, Lorelei Lynn
 All Other Names used by the Debtor in the last 8 years                                                               All Other Names used by the Joint Debtor in the last 8 years
 (include married, maiden, and trade names):                                                                          (include married, maiden, and trade names):
 NONE                                                                                                                 NONE


 Last four digits of Soc. Sec. or Indvidual-Taxpayer I.D. (ITIN) No./Complete EIN                                     Last four digits of Soc. Sec. or Indvidual-Taxpayer I.D. (ITIN) No./Complete EIN
 (if more than one, state all):   7708                                                                                (if more than one, state all):   2754
 Street Address of Debtor                  (No. & Street, City, and State):                                           Street Address of Joint Debtor                     (No. & Street, City, and State):
 5828 Pilar Court                                                                                                     1842 Frobisher Way
 San Jose CA                                                                                                          San Jose CA
                                                                                              ZIPCODE                                                                                                            ZIPCODE
                                                                                              95120                                                                                                              95124
 County of Residence or of the                                                                                        County of Residence or of the
 Principal Place of Business:                    Santa Clara                                                          Principal Place of Business:                    Santa Clara
 Mailing Address of Debtor                  (if different from street address):                                    Mailing Address of Joint Debtor                        (if different from street address):

 PO Box 24444                                                                                                     SAME
 San Jose CA                                                                                  ZIPCODE                                                                                                            ZIPCODE
                                                                                              95154
 Location of Principal Assets of Business Debtor                                                                                                                                                                  ZIPCODE
 (if different from street address above): NOT APPLICABLE


 Type of Debtor             (Form of organization)
                                                                             Nature of Business                                               Chapter of Bankruptcy Code Under Which
                                                                          (Check one box.)                                                    the Petition is Filed  (Check one box)
               (Check one box.)
                                                                          Health Care Business                                  Chapter 7                                          Chapter 15 Petition for Recognition
     Individual (includes Joint Debtors)
                                                                          Single Asset Real Estate as defined                   Chapter 9                                           of a Foreign Main Proceeding
     See Exhibit D on page 2 of this form.
                                                                          in 11 U.S.C. § 101 (51B)                              Chapter 11
     Corporation (includes LLC and LLP)                                                                                         Chapter 12                                         Chapter 15 Petition for Recognition
                                                                          Railroad                                                                                                 of a Foreign Nonmain Proceeding
     Partnership                                                                                                                Chapter 13
                                                                          Stockbroker
     Other (if debtor is not one of the above                                                                                              Nature of Debts        (Check one box)
                                                                          Commodity Broker
     entities, check this box and state type of
                                                                                                                             Debts are primarily consumer debts, defined                                    Debts are primarily
     entity below                                                         Clearing Bank
                                                                                                                             in 11 U.S.C. § 101(8) as "incurred by an                                       business debts.
                                                                          Other                                              individual primarily for a personal, family,
                                                                                                                             or household purpose"
                                                                            Tax-Exempt Entity
                                                                              (Check box, if applicable.)                                               Chapter 11 Debtors:
                                                                          Debtor is a tax-exempt organization         Check one box:
                                                                          under Title 26 of the United States             Debtor is a small business as defined in 11 U.S.C. § 101(51D).
                                                                          Code (the Internal Revenue Code).               Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).

                                  Filing Fee         (Check one box)                                                  Check if:
     Full Filing Fee attached                                                                                           Debtor’s aggregate noncontingent liquidated debts (excluding debts
    Filing Fee to be paid in installments (applicable to individuals only). Must                                        owed to insiders or affiliates) are less than $2,190,000.
    attach signed application for the court’s consideration certifying that the debtor                                -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- --
    is unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.                                  Check all applicable boxes:
                                                                                                                           A plan is being filed with this petition
    Filing Fee waiver requested (applicable to chapter 7 individuals only). Must
    attach signed application for the court's consideration. See Offi cial Form 3B.                                        Acceptances of the plan were solicited prepetition from one or more
                                                                                                                           classes of creditors, in accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                                                                     THIS SPACE IS FOR COURT USE ONLY

        Debtor estimates that funds will be available for distribution to unsecured creditors.
        Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
        distribution to unsecured creditors.
 Estimated Number of Creditors

 1-49               50-99             100-199            200-999             1,000-         5,001-          10,001-           25,001-            50,001-            Over
                                                                             5,000          10,000          25,000            50,000             100,000            100,000
 Estimated Assets
  $0 to             $50,001 to        $100,001 to        $500,001            $1,000,001     $10,000,001     $50,000,001       $100,000,001       $500,000,001       More than
  $50,000           $100,000          $500,000           to $1               to $10         to $50          to $100           to $500            to $1 billion      $1 billion
                                                         million             million        million         million           million
 Estimated Liabilities
  $0 to             $50,001 to        $100,001 to        $500,001            $1,000,001     $10,000,001     $50,000,001       $100,000,001       $500,000,001       More than
  $50,000           $100,000          $500,000           to $1               to $10         to $50          to $100           to $500            to $1 billion      $1 billion
                                                         million             million        million         million           million

               Case: 10-50174                               Doc# 1                    Filed: 01/08/10                  Entered: 01/08/10 16:05:40                                             Page 1 of 62
Official Form 1 (1/08)                                                                                                                                                FORM B1, Page   2
 Voluntary Petition                                                                          Name of Debtor(s):
                                                                                             Barry Thomas Mangan and
  (This page must be completed and filed in every case)
                                                                                             Lorelei Lynn Mangan
                         All Prior Bankruptcy Cases Filed Within Last 8 Years                       (If more than two, attach additional sheet)
 Location Where Filed:                                                               Case Number:                                                 Date Filed:
 NONE
 Location Where Filed:                                                               Case Number:                                                 Date Filed:


  Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor                                  (If more than one, attach additional sheet)
 Name of Debtor:                                                                      Case Number:                                                Date Filed:
 NONE
 District:                                                                            Relationship:                                               Judge:


                                   Exhibit A                                                                                             Exhibit B
   (To be completed if debtor is required to file periodic reports                                                      (To be completed if debtor is an individual
   (e.g., forms 10K and 10Q) with the Securities and Exchange                                                           whose debts are primarily consumer debts)
   Commission pursuant to Section 13 or 15(d) of the Securities                        I, the attorney for the petitioner named in the foregoing petition, declare that I
   Exchange Act of 1934 and is requesting relief under Chapter 11)                     have informed the petitioner that [he or she] may proceed under chapter 7, 11, 12
                                                                                       or 13 of title 11, United States Code, and have explained the relief available under
                                                                                       each such chapter. I further certify that I have delivered to the debtor the notice
                                                                                       required by 11 U.S.C. §342(b).
       Exhibit A is attached and made a part of this petition                          X     /s/ Craig V. Winslow                                                           1/ 8/2010
                                                                                              Signature of Attorney for Debtor(s)                                             Date


                                                                                        Exhibit C

 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health
 or safety?
         Yes, and exhibit C is attached and made a part of this petition.
         No

                                                                                    Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)

           Exhibit D completed and signed by the debtor is attached and made part of this petition.
 If this is a joint petition:
         Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                                    Information Regarding the Debtor - Venue
                                                                          (Check any applicable box)

     Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
     preceding the date of this petition or for a longer part of such 180 days than in any other District.
     There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
     Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has no
     principal place of business or assets in the United States but is a defendant in an action proceeding [in a federal or state court] in this District, or
     the interests of the parties will be served in regard to the relief sought in this District.

                                               Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                   (Check all applicable boxes.)
             Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)



                                                                                               (Name of landlord that obtained judgment)


                                                                                               (Address of landlord)

             Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
             entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

             Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day
             period after the filing of the petition.

             Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).

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Official Form 1 (1/08)                                                                                                                               FORM B1, Page   3
 Voluntary Petition                                                                 Name of Debtor(s):
                                                                                     Barry Thomas Mangan and
   (This page must be completed and filed in every case)
                                                                                     Lorelei Lynn Mangan
                                                                             Signatures
                    Signature(s) of Debtor(s) (Individual/Joint)                                    Signature of a Foreign Representative
I declare under penalty of perjury that the information provided in this
petition is true and correct.                                                    I declare under penalty of perjury that the information provided in this
[If petitioner is an individual whose debts are primarily consumer debts         petition is true and correct, that I am the foreign representative of a debtor
and has chosen to file under chapter 7] I am aware that I may proceed            in a foreign proceeding, and that I am authorized to file this petition.
under chapter 7, 11, 12, or 13 of title 11, United States Code,
understand the relief available under each such chapter, and choose to           (Check only one box.)
proceed under chapter 7.
                                                                                      I request relief in accordance with chapter 15 of title 11, United States
[If no attorney represents me and no bankruptcy petition preparer
                                                                                      Code. Certified copies of the documents required by 11 U.S.C. § 1515
signs the petition] I have obtained and read the notice required by
                                                                                      are attached.
11 U.S.C. §342(b)
                                                                                      Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
I request relief in accordance with the chapter of title 11, United States            chapter of title 11 specified in this petition. A certified copy of the
Code, specified in this petition.                                                     order granting recognition of the foreign main proceeding is attached.
 X /s/ Barry Thomas Mangan
     Signature of Debtor                                                         X
                                                                                      (Signature of Foreign Representative)
 X /s/ Lorelei Lynn Mangan
     Signature of Joint Debtor

                                                                                      (Printed name of Foreign Representative)
     Telephone Number (if not represented by attorney)
                                                                                       1/ 8/2010
       1/ 8/2010                                                                      (Date)
     Date

                                  Signature of Attorney*
                                                                                               Signature of Non-Attorney Bankruptcy Petition Preparer
 X /s/ Craig V. Winslow                                                         I declare under penalty of perjury that: (1) I am a bankruptcy petition
     Signature of Attorney for Debtor(s)                                        preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                compensation and have provided the debtor with a copy of this document
     Craig V. Winslow 73196
     Printed Name of Attorney for Debtor(s)
                                                                                and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                110(h), and 342(b); and, (3) if rules or guidelines have been promulgated
     Law Office of Craig V. Winslow                                             pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
     Firm Name                                                                  bankruptcy petition preparers, I have given the debtor notice of the
                                                                                maximum amount before preparing any document for filing for a debtor
     630 No. San Mateo Drive                                                    or accepting any fee from the debtor, as required in that section. Official
     Address                                                                    Form 19 is attached.


     San Mateo CA                     94401
                                                                                 Printed Name and title, if any, of Bankruptcy Petition Preparer
     (650) 347-5445
     Telephone Number
                                                                                 Social-Security number (If the bankruptcy petition preparer is not an
       1/ 8/2010                                                                 individual, state the Social-Security number of the officer, principal,
     Date                                                                        responsible person or partner of the bankruptcy petition preparer.)
                                                                                 (Required by 11 U.S.C. § 110.)
 *In a case in which § 707(b)(4)(D) applies, this signature also
 constitutes a certification that the attorney has no knowledge
 after an inquiry that the information in the schedules is incorrect.            Address

                    Signature of Debtor (Corporation/Partnership)
                                                                                X
I declare under penalty of perjury that the information provided
in this petition is true and correct, and that I have been
authorized to file this petition on behalf of the debtor.                           Date
                                                                                 Signature of bankruptcy petition preparer or officer, principal,
The debtor requests the relief in accordance with the chapter of                 responsible person, or partner whose Social-Security number is provided
title 11, United States Code, specified in this petition.                       Names and Social-Security numbers of all other individuals who prepared
                                                                                or assisted in preparing this document unless the bankruptcy petition
                                                                                preparer is not an individual.
 X
     Signature of Authorized Individual



     Printed Name of Authorized Individual
                                                                                 If more than one person prepared this document, attach additional
                                                                                 sheets conforming to the appropriate official form for each person.
     Title of Authorized Individual                                              A bankruptcy petition preparer’s failure to comply with the provisions of title
                                                                                 11 and the Federal Rules of Bankruptcy Procedure may result in fines or
       1/ 8/2010                                                                 imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.
     Date




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B 1D (Official Form 1, Exhibit D) (12/09)




                                            UNITED STATES BANKRUPTCY COURT
                                            NORTHERN DISTRICT OF CALIFORNIA


In re Barry Thomas Mangan                                                                                                 Case No.
      and                                                                                                                 Chapter 7
      Lorelei Lynn Mangan

                                            Debtor(s)




            EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                             CREDIT COUNSELING REQUIREMENT
     WARNING: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you cannot
do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens, you will lose
whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your case is dismissed and
you file another bankruptcy case later, you may be required to pay a second filing fee and you may have to take extra steps to stop
creditors' collection activities.


       Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate
Exhibit D. Check one of the five statements below and attach any documents as directed.

                 1. Within the 180 days before the filing of my bankruptcy case,            I received a briefing from a credit counseling
agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit
counseling and assisted me in performing a related budget analysis, and I have a certificate from the agency describing the
services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan developed through the agency.


                 2. Within the 180 days before the filing of my bankruptcy case,            I received a briefing from a credit counseling
agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit
counseling and assisted me in performing a related budget analysis, but I do not I have a certificate from the agency describing
the services provided to me. You must file a copy of a certificate from the agency describing the services provided to you and
a copy of any debt repayment plan developed through the agency no later than 14 days after your bankruptcy case is filed.


                 3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the
services during the seven days from the time I made my request, and the following exigent circumstances merit a temporary waiver
of the credit counseling requirement so I can file my bankruptcy case now.
[Summarize exigent circumstances here.]




   If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days
file your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together with a copy
debt management plan developed through the agency. Failure to fulfill these requirements may result in dismissal of your
Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days. Your case may
dismissed if the court is not satisfied with your reasons for filing your bankruptcy case without first receiving a credit
briefing.




             Case: 10-50174                 Doc# 1        Filed: 01/08/10              Entered: 01/08/10 16:05:40                      Page 4 of 62
 B 1D (Official Form 1, Exhibit D) (12/09)



               4. I am not required to receive a credit counseling briefing because of: [Check the applicable statement]
[Must be accompanied by a motion for determination by the court.]
                           Incapacity. (Defined in 11 U.S.C. § 109 (h)(4) as impaired by reason of mental illness or mental deficiency
                  so as to be incapable of realizing and making rational decisions with respect to financial responsibilities.);
                           Disability. (Defined in 11 U.S.C. § 109 (h)(4) as physically impaired to the extent of being unable, after
                  reasonable effort, to participate in a credit counseling briefing in person, by telephone, or through the Internet.);
                           Active military duty in a military combat zone.


                  5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement
 of 11 U.S.C. § 109(h) does not apply in this district.


         I certify under penalty of perjury that the information provided above is true and correct.

 Signature of Debtor:      /s/ Lorelei Lynn Mangan
 Date:      1/ 8/2010




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B 1D (Official Form 1, Exhibit D) (12/09)




                                            UNITED STATES BANKRUPTCY COURT
                                            NORTHERN DISTRICT OF CALIFORNIA


In re Barry Thomas Mangan                                                                                                 Case No.
      and                                                                                                                 Chapter 7
      Lorelei Lynn Mangan
                                            Debtor(s)




            EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                             CREDIT COUNSELING REQUIREMENT
     WARNING: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you cannot
do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens, you will lose
whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your case is dismissed and
you file another bankruptcy case later, you may be required to pay a second filing fee and you may have to take extra steps to stop
creditors' collection activities.


       Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate
Exhibit D. Check one of the five statements below and attach any documents as directed.

                 1. Within the 180 days before the filing of my bankruptcy case,            I received a briefing from a credit counseling
agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit
counseling and assisted me in performing a related budget analysis, and I have a certificate from the agency describing the
services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan developed through the agency.


                 2. Within the 180 days before the filing of my bankruptcy case,            I received a briefing from a credit counseling
agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit
counseling and assisted me in performing a related budget analysis, but I do not I have a certificate from the agency describing
the services provided to me. You must file a copy of a certificate from the agency describing the services provided to you and
a copy of any debt repayment plan developed through the agency no later than 14 days after your bankruptcy case is filed.


                 3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the
services during the seven days from the time I made my request, and the following exigent circumstances merit a temporary waiver
of the credit counseling requirement so I can file my bankruptcy case now.
[Summarize exigent circumstances here.]




   If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days
file your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together with a copy
debt management plan developed through the agency. Failure to fulfill these requirements may result in dismissal of your
Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days. Your case may
dismissed if the court is not satisfied with your reasons for filing your bankruptcy case without first receiving a credit
briefing.




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 B 1D (Official Form 1, Exhibit D) (12/09)



               4. I am not required to receive a credit counseling briefing because of: [Check the applicable statement]
[Must be accompanied by a motion for determination by the court.]
                           Incapacity. (Defined in 11 U.S.C. § 109 (h)(4) as impaired by reason of mental illness or mental deficiency
                  so as to be incapable of realizing and making rational decisions with respect to financial responsibilities.);
                           Disability. (Defined in 11 U.S.C. § 109 (h)(4) as physically impaired to the extent of being unable, after
                  reasonable effort, to participate in a credit counseling briefing in person, by telephone, or through the Internet.);
                           Active military duty in a military combat zone.


                  5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement
 of 11 U.S.C. § 109(h) does not apply in this district.


         I certify under penalty of perjury that the information provided above is true and correct.

 Signature of Debtor:       /s/ Barry Thomas Mangan
 Date:      1/ 8/2010




              Case: 10-50174                 Doc# 1         Filed: 01/08/10              Entered: 01/08/10 16:05:40                       Page 7 of 62
B22A (Official Form 22A) (Chapter 7) (12/08)

                                                                                                 According to the information required to be entered on this
                                                                                               statement (check one box as directed in Part I, III, or VI of this
   In re    Mangan
                      Debtor(s)                                                                       The presumption arises.
                                                                                                      The presumption does not arise.
   Case Number:
                                                                                                    The presumption is temporarily inapplicable.
                      (If known)
                                                                                            (Check the box as directed in Parts I, III, and VI of this statement.)

                                   CHAPTER 7 STATEMENT OF CURRENT MONTHLY INCOME
                                                           AND MEANS-TEST CALCULATION

In addition to Schedules I and J, this statement must be completed by every individual chapter 7 debtor, whether or not filing jointly. Joint
exclusion in Line 1C applies, joint debtors may complete a single statement. If the exclusion in Line 1C applies, each joint filer must complete
a separate statement.

                                                Part I. MILITARY AND NON-CONSUMER DEBTORS
           Disabled Veterans. If you are a disabled veteran described in the Declaration in this Part IA, (1) check the box at the
           beginning of the Declaration, (2) check the box for “The presumption does not arise” at the top of this statement, and (3)
           complete the verification in Part VIII. Do not complete any of the remaining parts of this statement.
  1A
             Declaration of Disabled Veteran. By checking this box, I declare under penalty of perjury that I am a disabled veteran (as
           defined in 38 U.S.C. § 3741(1)) whose indebtedness occurred primarily during a period in which I was on active duty (as
           defined in 10 U.S.C. § 101(d)(1)) or while I was performing a homeland defense activity (as defined in 32 U.S.C. §901(1)).

           Non-consumer Debtors. If your debts are not primarily consumer debts, check the box below and complete the verification in
    1B     Part VIII. Do not complete any of the remaining parts of this statement.

              Declaration of non-consumer debts. By checking this box, I declare that my debts are not primarily consumer debts.
            Reservists and National Guard Members; active duty or homeland defense activity. Members of a reserve component of the
           Armed Forces and members of the National Guard who were called to active duty (as defined in 10 U.S.C. § 101(d)(1)) after
           September 11, 2001, for a period of at least 90 days, or who have performed homeland defense activity (as defined in 32 U.S.C. § 901(1))
           for a period of at least 90 days, are excluded from all forms of means testing during the time of active duty or homeland defense activity
           and for 540 days thereafter (the “exclusion period”). If you qualify for this temporary exclusion, (1) check the appropriate boxes and
           complete any required information in the Declaration of Reservists and National Guard Members below, (2) check the box for “The
           presumption is temporarily inapplicable” at the top of this statement, and (3) complete the verification in Part VIII.
           During your exclusion period you are not required to complete the balance of this form, but you must complete
           the form no later than 14 days after the date on which your exclusion period ends, unless the time for filing a
           means test presumption expires in your case before your exclusion period ends.


               Declaration of Reservists and National Guard Members. By checking this box and making the appropriate entries below, I
  1C
           declare that I am eligible for a temporary exclusion from means testing because, as a member of a reserve component of the
           Armed Forces or the National Guard

                 a.      I was called to active duty after September 11, 2001, for a period of at least 90 days and
                                       I remain on active duty /or/
                                       I was released from active duty on ________, which is less than 540 days before this bankruptcy case was filed;

                                  OR

                 b.      I am performing homeland defense activity for a period of at least 90 days /or/
                         I performed homeland defense activity for a period of at least 90 days, terminating on _______, which is less than 540 days
                         before this bankruptcy case was filed.




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B22A (Official Form 22A) (Chapter 7) (12/08)       - Cont.                                                                                                   2
                       Part II. CALCULATION OF MONTHLY INCOME FOR § 707(b)(7) EXCLUSION
         Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
         a.    Unmarried. Complete only Column A ("Debtor’s Income") for Lines 3-11.
         b.      Married, not filing jointly, with declaration of separate households. By checking this box, debtor declares under
         penalty of perjury: "My spouse and I are legally separated under applicable non-bankruptcy law or my spouse and I are
         living apart other than for the purpose of evading the requirements of § 707(b)(2)(A) of the Bankruptcy Code."
         Complete only Column A ("Debtor’s Income") for Lines 3-11.
         c.   Married, not filing jointly, without the declaration of separate households set out in Line 2.b above.        Complete both
  2
         Column A ("Debtor’s Income") and Column B ("Spouse’s Income") for Lines 3-11.
         d.    Married, filing jointly. Complete both Column A ("Debtor’s Income") and Column B ("Spouse’s Income") for
         Lines 3-11.
         All figures must reflect average monthly income received from all sources, derived during the six calendar
                                                                                                                                        Column A   Column B
         months prior to filing the bankruptcy case, ending on the last day of the month before the filing. If the amount
         of monthly income varied during the six months, you must divide the six month total by six, and enter the                      Debtor's   Spouse's
         result on the appropriate line.
                                                                                                                                         Income       Income
  3      Gross wages, salary, tips, bonuses, overtime, commissions.                                                                    $0.00       $0.00

         Income from the operation of a business, profession, or farm.              Subtract Line b from Line a and enter
         the difference in the appropriate column(s) of Line 4. If you operate more than one business, profession or
         farm, enter aggregate numbers and provide details on an attachment. Do not enter a number less than zero.
  4      Do not include any part of the business expenses entered on Line b as a deduction in Part V.
           a.        Gross receipts                                                    $10,695.50
           b.        Ordinary and necessary business expenses                          $3,500.00
                                                                                                                                       $3,270.83   $3,924.67
           c.        Business income                                                   Subtract Line b from Line a

          Rent and other real property income.           Subtract Line b from Line a and enter the difference
         in the appropriate column(s) of Line 5. Do not enter a number less than zero.     Do not include
         any part of the operating expenses entered on Line b as a deduction in Part V.
  5        a.        Gross receipts                                                    $1,897.00
           b.        Ordinary and necessary operating expenses                         $945.00
           c.        Rent and other real property income                               Subtract Line b from Line a                     $467.00     $485.00

  6      Interest, dividends, and royalties.                                                                                           $0.00       $0.00

  7      Pension and retirement income.                                                                                                $0.00       $0.00

         Any amounts paid by another person or entity, on a regular basis, for the household expenses of
  8      the debtor or the debtor's dependents, including child support paid for that purpose.
         Do not include alimony or separate maintenance payments or amounts paid by your spouse if Column B is
         icompleted.                                                                                                                   $0.00       $0.00

         Unemployment compensation.              Enter the amount in the appropriate column(s) of Line 9.
         However, if you contend that unemployment compensation received by you or your spouse
         was a benefit under the Social Security Act, do not list the amount of such compensation in
  9      Column A or B, but instead state the amount in the space below:

          Unemployment compensation claimed to
          be a benefit under the Social Security Act                $0.00
                                                             Debtor ________                    $0.00
                                                                                        Spouse _________                               $0.00       $0.00

          Income from all other sources.        Specify source and amount. If necessary, list additional sources on a
         separate page.    Do not include alimony or separate maintenance payments paid by your spouse
 10      if Column B is completed, but include all other payments of alimony or separate maintenance.
         Do not include any benefits received under the Social Security Act or payments received as a victim of a war
         crime, crime against humanity, or as a victim of international or domestic terrorism.

                a.                                                                             0
                b.                                                                             0

          Total and enter on Line 10                                                                                                   $0.00       $0.00
         Subtotal of Current Monthly Income for § 707(b)(7).        Add Lines 3 thru 10 in
 11      Column A, and, if Column B is completed, add Lines 3 through 10 in Column B. Enter the
         total(s).                                                                                                                     $3,737.83   $4,409.67

         Total Current Monthly Income for § 707(b)(7).       If Column B has been completed,
 12      add Line 11, Column A to Line 11, Column B, and enter the total. If Column B has not been
         completed, enter the amount Doc#
                                     from Line111, Column                                                                              $8,147.50
         Case: 10-50174                             Filed:A.01/08/10 Entered: 01/08/10                          16:05:40             Page   9 of 62
B22A (Official Form 22A) (Chapter 7) (12/08)      - Cont.                                                                                              3


                                        Part III. APPLICATION OF § 707(b)(7) EXCLUSION
 13      Annualized Current Monthly Income for § 707(b)(7).             Multiply the amount from Line 12 by
         the number 12 and enter the result.                                                                                              $97,770.00

         Applicable median family income.          Enter the median family income for the applicable state and
         household size. (This information is available by family size at   www.usdoj.gov/ust/      or from the clerk of
 14      the bankruptcy court.)
                                                                                                                                          $70,890.00
                                                 CALIFORNIA
         a. Enter debtor’s state of residence: ______________________                                       3
                                                                      b. Enter debtor’s household size: __________

         Application of Section 707(b)(7).      Check the applicable box and proceed as directed.

           The amount on Line 13 is less than or equal to the amount on Line 14.              Check the box for "The presumption does
 15      not arise" at the top of page 1 of this statement, and complete Part VIII; do not complete Parts IV, V, VI, or VII.

            The amount on Line 13 is more than the amount on Line 14.               Complete the remaining parts of this
         statement.

                     Complete Parts IV, V, VI, and VII of this statement only if required. (See Line 15).

                     Part IV. CALCULATION OF CURRENT MONTHLY INCOME FOR § 707(b)(2)
 16      Enter the amount from Line 12.                                                                                                   $8,147.50

         Marital adjustment. If you checked the box at Line 2.c, enter on Line 17 the total of any income listed in Line 11,
         Column B that was NOT paid on a regular basis for the household expenses of the debtor or the debtor’s
         dependents. Specify in the lines below the basis for excluding the Column B income (such as payment of the
         spouse’s tax liability or the spouse’s support of persons other than the debtor or the debtor’s dependents) and
         the amount of income devoted to each purpose. If necessary, list additional adjustments on a separate page. If
         you did not check box at Line 2.c, enter zero.
 17
           a.                                                                                               $0.00

           b.                                                                                               $0.00

           c.                                                                                               $0.00

          Total and enter on Line 17                                                                                                      $0.00

 18      Current monthly income for § 707(b)(2).        Subtract Line 17 from Line 16 and enter the result.                               $8,147.50




                                  Part V. CALCULATION OF DEDUCTIONS FROM INCOME
                 Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)
         National Standards: food, clothing, and other items.            Enter in Line 19A the “Total” amount from IRS National
 19A     Standards for Food, Clothing and Other Items for the applicable household size. (This information is available at
          www.usdoj.gov/ust/         or from the clerk of the bankruptcy court.)
                                                                                                                                          $1,152.00

         National Standards: health care.            Enter in Line a1 below the amount from IRS National Standards for Out-of-Pocket
        Health Care for persons under 65 years of age, and in Line a2 the IRS National Standards for Out-of-Pocket
        Health Care for persons 65 years of age or older. (This information is available at    www.usdoj.gov/ust/ or
        from the clerk of the bankruptcy court.) Enter in Line b1 the number of members of your household who are
        under 65 years of age, and enter in Line b2 the number of members of your household who are 65 years of age
        or older. (The total number of household members must be the same as the number stated in Line 14b.) Multiply
        Line a1 by Line b1 to obtain a total amount for household members under 65, and enter the result in Line c1.
 19B    Multiply Line a2 by Line b2 to obtain a total amount for household members 65 and older, and enter the result in
        Line c2. Add Lines c1 and c2 to obtain a total health care amount, and enter the result in Line 19B.

          Household members under 65 years of age                           Household members 65 years of age or older

         a1.    Allowance per member                        $60.00         a2.    Allowance per member                       $144.00

         b1.    Number of members                           3              b2.    Number of members                          0
         c1.    Subtotal                                    $180.00        c2.    Subtotal                                   $0.00        $180.00

          Local Standards: housing and utilities; non-mortgage expenses.                  Enter the amount of the
 20A     IRS Housing and Utilities Standards; non-mortgage expenses for the applicable county and household size.
         (This information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court).                                 $683.00
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B22A (Official Form 22A) (Chapter 7) (12/08)            - Cont.                                                                                          4
          Local Standards: housing and utilities; mortgage/rent expenses.                   Enter, in Line a below, the
         amount of the IRS Housing and Utilities Standards; mortgage/rent expense for your county and household size
         (this information is available at www.usdoj.gov/ust/       or from the clerk of the bankruptcy court); enter on
         Line b the total of the Average Monthly Payments for any debts secured by your home, as stated in Line
         42; subtract Line b from Line a and enter the result in Line 20B.    Do not enter an amount less than zero.
 20B
          a.       IRS Housing and Utilities Standards; mortgage/rental expense                               $2,101.00
          b.       Average Monthly Payment for any debts secured by your
                   home, if any, as stated in Line 42                                                         $0.00
          c.       Net mortgage/rental expense                                                                Subtract Line b from Line a.   $2,101.00

         Local Standards: housing and utilities; adjustment.             If you contend that the process set out in
         Lines 20A and 20B does not accurately compute the allowance to which you are entitled under the IRS
         Housing and Utilities Standards, enter any additional amount to which you contend you are entitled, and
         state the basis for your contention in the space below:
 21



                                                                                                                                             $0.00

         Local Standards: transportation; vehicle operation/public transportation expense.
         You are entitled to an expense allowance in this category regardless of whether you pay the expenses of
         operating a vehicle and regardless of whether you use public transportation.

         Check the number of vehicles for which you pay the operating expenses or for which the operating
         expenses are included as a contribution to your household expenses in Line 8.
  22A
              0     1     2 or more.
         If you checked 0, enter on Line 22A the “Public Transportation” amount from IRS Local Standards:
         Transportation. If you checked 1 or 2 or more, enter on Line 22A the “Operating Costs” amount from IRS
         Local Standards: Transportation for the applicable number of vehicles in the applicable Metropolitan Statistical
         Area or Census Region. (These amounts are available at www.usdoj.gov/ust/ or from the clerk of the                                  $522.00

         Local Standards: transportation; additional public transportation expense.                     If you pay the operating expenses
         for a vehicle and also use public transportation, and you contend that you are entitled to an additional deduction
 22B     for your public transportation expenses, enter on Line 22B the “Public Transportation” amount from IRS Local
         Standards: Transportation. (This amount is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy                      $0.00

         Local Standards: transportation ownership/lease expense; Vehicle 1.              Check the number
         of vehicles for which you claim an ownership/lease expense. (You may not claim an ownership/lease
         expense for more than two vehicles.)

              1     2 or more.

         Enter, in Line a below, the “Ownership Costs” for “One Car” from the IRS Local Standards: Transportation
        (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the Average
 23      Monthly Payments for any debts secured by Vehicle 1, as stated in Line 42; subtract Line b from
         Line a and enter the result in Line 23.    Do not enter an amount less than zero.


         a.       IRS Transportation Standards, Ownership Costs                       $489.00
         b.       Average Monthly Payment for any debts secured by Vehicle 1,
                                                                                      $336.83                                                $152.17
                  as stated in Line 42
         c.        Net ownership/lease expense for Vehicle 1                         Subtract Line b from Line a.

          Local Standards: transportation ownership/lease expense; Vehicle 2.
          Complete this Line only if you checked the "2 or more" Box in Line 23.
         Enter, in Line a below, the “Ownership Costs” for “One Car” from the IRS Local Standards: Transportation
         (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of
         the Average Monthly Payments for any debts secured by Vehicle 2, as stated in Line 42; subtract Line b
 24      from Line a and enter the result in Line 24. Do not enter an amount less than zero.
           a.        IRS Transportation Standards, Ownership Costs                                  $489.00
           b.        Average Monthly Payment for any debts secured by Vehicle 2,
                     as stated in Line 42                                                           $258.30
           c.        Net ownership/lease expense for Vehicle 2
                                                                                                    Subtract Line b from Line a.             $230.70



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B22A (Official Form 22A) (Chapter 7) (12/08)       - Cont.                                                                                                5
         Other Necessary Expenses: taxes.             Enter the total average monthly expense that you actually incur
         for all federal, state and local taxes, other than real estate and sales taxes, such as income taxes, self
 25
         employment taxes, social-security taxes, and Medicare taxes.           Do not include real estate or sales
         taxes.                                                                                                                               $970.00

        Other Necessary Expenses: mandatory payroll deductions for employment.                         Enter the total average monthly
 26     payroll deductions that are required for your employment, such as retirement contributions, union dues, and uniform costs.
        Do not include discretionary amounts, such as voluntary 401(k) contributions.
                                                                                                                                              $0.00

          Other Necessary Expenses: life insurance.            Enter total average monthly premiums that you actually
 27      pay for term life insurance for yourself. Do not include premiums for insurance on your dependents,
                                                                                                                                              $0.00
         for whole life or for any other form of insurance.
         Other Necessary Expenses: court-ordered payments.                     Enter the total monthly amount that you are required
 28      to pay pursuant to the order of a court or administrative agency, such as spousal or child support payments.
         Do not include payments on past due support obligations included in Line 44.                                                         $0.00

          Other Necessary Expenses: education for employment or for a physically or mentally
         challenged child.          Enter the total average monthly amount that you actually expend for education that is a
 29
         condition of employment and for education that is required for a physically or mentally challenged dependent
         child for whom no public education providing similar services is available.                                                          $0.00

 30      Other Necessary Expenses: childcare.               Enter the total average monthly amount that you actually expend on
         childcare - such as baby-sitting, day care, nursery and preschool.      Do not include other educational payments.                   $0.00

         Other Necessary Expenses: health care.                   Enter the total average monthly amount that you actually expend on health
 31      care that is required for the health and welfare of yourself or your dependents, that is not reimbursed by insurance or
         paid by a health savings account, and that is in excess of the amount entered in Line 19B.
         Do not include payments for health insurance or health savings accounts listed in Line 34.                                           $0.00

          Other Necessary Expenses: telecommunication services.                       Enter the total average monthly amount that you
         actually pay for telecommunication services other than your basic home telephone and cell phone service -- such as
 32      pagers, call waiting, caller id, special long distance, or internet service -- to the extent necessary for your health
         and welfare or that of your dependents.           Do not include any amount previously deducted.
                                                                                                                                              $380.00

 33      Total Expenses Allowed under IRS Standards.              Enter the total of Lines 19 through 32                                      $6,370.87


                                  Subpart B: Additional Living Expense Deductions
                        Note: Do not include any expenses that you have listed in Lines 19-32
         Health Insurance, Disability Insurance and Health Savings Account Expenses.                      List the monthly expenses in the
         categories set out in lines a-c below that are reasonably necessary for yourself, your spouse, or your dependents.

           a.      Health Insurance                $500.00
           b.      Disability Insurance            $0.00
           c.      Health Savings Account          $0.00
 34
          Total and enter on Line 34                                                                                                          $500.00
          If you do not actually expend this total amount,         state your actual total average monthly expenditures in the
          space below:
           $0.00

         Continued contributions to the care of household or family members.                  Enter the total average actual
 35      monthly expenses that you will continue to pay for the reasonable and necessary care and support of an
         elderly, chronically ill, or disabled member of your household or member of your immediate family who is
         unable to pay for such expenses.                                                                                                     $0.00

         Protection against family violence.              Enter the total average reasonably necessary monthly expenses that you actually
 36      incurred to maintain the safety of your family under the Family Violence Prevention and Services Act or
         other applicable federal law. The nature of these expenses is required to be kept confidential by the court.                         $0.00

        Home energy costs.       Enter the total average monthly amount, in excess of the allowance specified by IRS
 37     Local Standards for Housing and Utilities, that you actually expend for home energy costs.   You must
        provide your case trustee with documentation of your actual expenses, and you must demonstrate that
        reasonable and necessary and not already accounted for in the IRS Standards.                                                          $0.00




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B22A (Official Form 22A) (Chapter 7) (12/08)       - Cont.                                                                                                6
         Education expenses for dependent children less than 18.                 Enter the total average monthly expenses that
         you actually incur, not to exceed $137.50 per child, for attendance at a private or public elementary or
 38      secondary school by your dependent children less than 18 years of age. You must provide your case trustee
         with documentation of your actual expenses, and you must explain why the amount claimed is
         reasonable and necessary and not already accounted for in the IRS Standards.                                                         $0.00

         Additional food and clothing expense.             Enter the total average monthly amount by which your food and
         clothing expenses exceed the combined allowances for food and clothing (apparel and services) in the IRS National
 39      Standards, not to exceed 5% of those combined allowances. (This information is available at        www.usdoj.gov/ust/
         or from the clerk of the bankruptcy court.) You must demonstrate that the additional amount claimed is
         reasonable and necessary.                                                                                                            $0.00

 40      Continued charitable contributions.              Enter the amount that you will continue to contribute in the
         form of cash or financial instruments to a charitable organization as defined in 26 U.S.C. § 170(c)(1)-(2).                          $50.00

 41      Total Additional Expense Deductions under § 707(b).               Enter the total of Lines 34 through 40                             $550.00

                                                Subpart C: Deductions for Debt Payment
         Future payments on secured claims.             For each of your debts that is secured by an interest in proprerty that
         you own, list the name of the creditor, identify the property securing the debt, state the Average Monthly
         Payment, and check whether the payment includes taxes or insurance. The Average Monthly Payment is the
         total of all amounts scheduled as contractually due to each Secured Creditor in the 60 months following the
         filing of the bankruptcy case, divided by 60. If necessary, list additional entries on a separate page. Enter
         the total of the Average Monthly Payments on Line 42.
                    Name of Creditor              Property Securing the Debt                      Average                Does payment
                                                                                                  Monthly                include taxes
                                                                                                  Payment                or insurance?
 42
          a.       Wells Fargo Bank            rental cabin                               $1,388.00                       yes        no
          b.       Honda Financial             Scion                                      $336.83                         yes        no
          c.       Wells Fargo                 Volvo                                      $258.30                         yes        no

          d.       Bank of America             rental duplex                              $1,550.16                       yes        no
          e.                                                                              $0.00                           yes        no

                                                                                           Total: Add Lines a - e                             $3,533.29


         Other payments on secured claims.                 If any of the debts listed in Line 42 are secured by your primary
         residence, a motor vehicle, or other property necessary for your support or the support of your dependents,
         you may include in your deduction 1/60th of any amount (the "cure amount") that you must pay the creditor
         in addition to the payments listed in Line 42, in order to maintain possession of the property. The cure amount
         would include any sums in default that must be paid in order to avoid repossession or foreclosure. List and
         total any such amounts in the following chart. If necessary, list additional entries on a separate page.

                  Name of Creditor               Property Securing the Debt                  1/60th of the Cure Amount
 43
          a.     Wells Fargo Bank              rental cabin                                 $166.67
          b.     Ralph Bautista                rental cabin                                 $500.00
          c.     Bank of America               rental duplex                                $91.66
          d.                                                                                $0.00
          e.                                                                                $0.00

                                                                                              Total: Add Lines a - e                          $758.33

         Payments on prepetition priority claims.              Enter the total amount, divided by 60, of all priority claims, such
 44      as priority tax, child support and alimony claims, for which you were liable at the time of your bankruptcy
         Do not include current obligations, such as those set out in Line 28.                                                                $104.68




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B22A (Official Form 22A) (Chapter 7) (12/08)       - Cont.                                                                                                   7
         Chapter 13 administrative expenses.            If you are eligible to file a case under Chapter 13, complete
         the following chart, multiply the amount in line a by the amount in line b, and enter the resulting
         administrative expense.


          a.    Projected average monthly Chapter 13 plan payment.                           $1,000.00
 45             Current multiplier for your district as determined under                 x
          b.                                                                                 0.098
                schedules issued by the Executive Office for United States
                Trustees. (This information is available at www.usdoj.gov/ust/
                or from the clerk of the bankruptcy court.)

          c.     Average monthly administrative expense of Chapter 13 case                Total: Multiply Lines a and b                        $98.00


 46      Total Deductions for Debt Payment.           Enter the total of Lines 42 through 45.                                                  $4,494.30

                                              Subpart D: Total Deductions from Income
 47      Total of all deductions allowed under § 707(b)(2).             Enter the total of Lines 33, 41, and 46.                               $11,415.17

                                   Part VI. DETERMINATION OF § 707(b)(2) PRESUMPTION
 48      Enter the amount from Line 18 (Current monthly income for § 707(b)(2))                                                                $8,147.50

 49      Enter the amount from Line 47 (Total of all deductions allowed under § 707(b)(2))                                                     $11,415.17

 50      Monthly disposable income under § 707(b)(2).               Subtract Line 49 from Line 48 and enter the
         result                                                                                                                                ($3,267.67)

 51      60-month disposable income under § 707(b)(2).               Multiply the amount in Line 50 by the
         number 60 and enter the result.                                                                                                       ($196,060.20)

         Initial presumption determination.         Check the applicable box and proceed as directed.
            The amount on Line 51 is less than $6,575            Check the box for "The presumption does not arise" at the top of page 1 of
         this statement, and complete the verification in Part VIII. Do not complete the remainder of Part VI.
 52         The amount set forth on Line 51 is more than $10,950.                  Check the box for "The presumption arises" at the top of
         page 1 of this statement, and complete the verification in Part VIII. You may also complete Part VII. Do not complete the remainder of Part VI.
            The amount on Line 51 is at least $6,575, but not more than $10,950.                Complete the remainder of Part
         VI (Lines 53 through 55).

 53      Enter the amount of your total non-priority unsecured debt                                                                            $

 54      Threshold debt payment amount.                Multiply the amount in Line 53 by the number 0.25 and enter
         the result.                                                                                                                           $

         Secondary presumption determination.                Check the applicable box and proceed as directed.

            The amount on Line 51 is less than the amount on Line 54.                 Check the box for "The presumption does not arise" at
 55      the top of page 1 of this statement, and complete the verification in Part VIII.
            The amount on Line 51 is equal to or greater than the amount on Line 54.                     Check the box for "The presumption
         arises" at the top of page 1 of this statement, and complete the verification in Part VIII. You may also complete Part VII.

                                              PART VII. ADDITIONAL EXPENSE CLAIMS
         Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the
         health and welfare of you and your family and that you contend should be an additional deduction from your current
         monthly income under § 707(b)(2)(A)(ii)(I). If necessary, list additional sources on a separate page. All figures should reflect
         your average monthly expense for each item. Total the expenses.
                  Expense Description                                                   Monthly Amount
 56
           a.                                                                            $
           b.                                                                            $
           c.                                                                            $
                                              Total: Add Lines a, b, and c               $




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B22A (Official Form 22A) (Chapter 7) (12/08)       - Cont.                                                                                        8
                                                             Part VIII: VERIFICATION
         I declare under penalty of perjury that the information provided in this statement is true and correct.   (If this a joint case,
         both debtors must sign.)

                01/08/2010
         Date: ________________________             /s/ Barry Thomas Mangan
                                        Signature: _____________________________________________________________________
 57
                                                       (Debtor)
                01/08/2010
         Date: ________________________              /s/ Lorelei Lynn Mangan
                                        Signature: _____________________________________________________________________
                                                       (Joint Debtor, if any )




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B6 Declaration (Official Form 6 - Declaration) (12/07)




                                              UNITED STATES BANKRUPTCY COURT
                                              NORTHERN DISTRICT OF CALIFORNIA

   In re Barry Thomas Mangan and Lorelei Lynn Mangan                                                                         Case No.
                                                                                                                             Chapter 7


                                                                                                                / Debtor




                                                          SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I, and J in the
boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor's assets. Add the amounts of all claims from Schedules D, E, and
F to determine the total amount of the debtor's liabilities. Individual debtors must also complete the "Statistical Summary of Certain Liabilities and Related Data"if they
file a case under chapter 7, 11, or 13.




                                            Attached         No. of
       NAME OF SCHEDULE                     (Yes/No)         Sheets                  ASSETS                         LIABILITIES                        OTHER

 A-Real Property
                                               Yes              1          $       1,179,000.00

 B-Personal Property
                                               Yes              4          $            59,810.71

 C-Property Claimed as
   Exempt
                                               Yes              1

 D-Creditors Holding Secured
   Claims
                                               Yes              3                                           $       1,369,318.98

 E-Creditors Holding
   Unsecured Priority Claims                   Yes              2                                           $              6,280.75
   (Total of Claims on Schedule E)

 F-Creditors Holding
   Unsecured Nonpriority Claims
                                               Yes              7                                           $          373,694.30

 G-Executory Contracts and
   Unexpired Leases
                                               Yes              1

 H-Codebtors
                                               Yes              1

 I-Current Income of Individual
   Debtor(s)
                                               Yes              1                                                                            $            11,800.00

 J-Current Expenditures of
   Individual Debtor(s)
                                               Yes              2                                                                            $            11,671.00

                                  TOTAL                       23            $       1,238,810.71             $      1,749,294.03




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B6 Declaration (Official Form 6 - Declaration) (12/07)




                                               UNITED STATES BANKRUPTCY COURT
                                               NORTHERN DISTRICT OF CALIFORNIA

   In re Barry Thomas Mangan and Lorelei Lynn Mangan                                                                             Case No.
                                                                                                                                 Chapter 7



                                                                                                               / Debtor



       STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C § 159)
 If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C. § 101(8), filing a case under
 chapter 7, 11, or 13, you must report all information requested below.


     Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any information here.



 This information is for statistical purposes only under 28 U.S.C. § 159.

 Summarize the following types of liabilities, as reported in the Schedules, and total them.

   Type of Liability                                                                                              Amount
   Domestic Support Obligations (from Schedule E)                                                                 $       0.00
   Taxes and Certain Other Debts Owed to Governmental Units (from Schedule E)                                     $       6,280.75
   Claims for Death or Personal Injury While Debtor Was Intoxicated (from Schedule E) (whether
   disputed or undisputed)                                                                                        $       0.00
   Student Loan Obligations (from Schedule F)                                                                     $       0.00
   Domestic Support, Separation Agreement, and Divorce Decree Obligations Not Reported on                         $       0.00
   Schedule E
   Obligations to Pension or Profit-Sharing, and Other Similar Obligations (from Schedule F)                      $       0.00
                                                                                                     TOTAL        $       6,280.75

 State the following:


   Average Income (from Schedule I, Line 16)                                                                          $   11,800.00
   Average Expenses (from Schedule J, Line 18)                                                                        $   11,671.00
   Current Monthly Income (from Form 22A Line 12; OR, Form 22B Line 11; OR, Form 22C Line 20)                         $   8,147.50
 State the following:


   1. Total from Schedule D, "UNSECURED PORTION, IF ANY" column                                                                                  $   162,058.98
   2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY" column                                                     $   6,280.75
   3. Total from Schedule E, "AMOUNT NOT ENTITLED TO PRIORITY, IF ANY" column                                                                    $   0.00
   4. Total from Schedule F                                                                                                                      $   373,694.30
   5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                                                  $   535,753.28




               Case: 10-50174                 Doc# 1        Filed: 01/08/10            Entered: 01/08/10 16:05:40                       Page 17 of 62
B6 Declaration (Official Form 6 - Declaration) (12/07)




In re Barry Thomas Mangan and Lorelei Lynn Mangan                                                                         Case No.
                               Debtor                                                                                                                         (if known)




                                DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                DECLARATION UNDER PENALTY OF PERJURY BY AN INDIVIDUAL DEBTOR

      I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of      24     sheets, and that they are true and
      correct to the best of my knowledge, information and belief.



      Date:   1/8/2010                                       Signature   /s/ Barry Thomas Mangan
                                                                         Barry Thomas Mangan


      Date:   1/8/2010                                       Signature   /s/ Lorelei Lynn Mangan
                                                                         Lorelei Lynn Mangan

                                                                     [If joint case, both spouses must sign.]



     Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.




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FORM B6A (Official Form 6A) (12/07)



In re Barry Thomas Mangan and Lorelei Lynn Mangan                                                 ,                 Case No.
                                      Debtor(s)                                                                                                  (if known)


                                                  SCHEDULE A-REAL PROPERTY

Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers
exercisable for the debtor’s own benefit. If the debtor is married, state whether the husband, wife, both, or the marital community own the property
by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor holds no interest in real property, write
“None” under “Description and Location of Property.”
Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G-Executory
Contracts and Unexpired Leases.

If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property
Claimed as Exempt.

                                                                                                                        Current
             Description and Location of Property                           Nature of Debtor's                                               Amount of
                                                                                                                         Value
                                                                           Interest in Property                    of Debtor's Interest,
                                                                                                                                           Secured Claim
                                                                                                    Husband--H     in Property Without
                                                                                                       Wife--W        Deducting any
                                                                                                        Joint--J    Secured Claim or
                                                                                                  Community--C          Exemption

Residence         -    1842       Frobisher       Way,     San Fee Simple                                    C      $ 799,000.00           $ 872,531.00
Jose, CA



Rental Property - Twain Harte                        -   22760 Fee Simple                                    C      $ 200,000.00           $ 273,451.02
Placer Drive, Twain Harte, CA



Rental Duplex - Sonora                  -    22101   Crystal Fee Simple                                      C      $ 180,000.00           $ 194,576.96
Falls Drive, Sonora, CA



Timeshare   -   Birch   at                   Streamside      - Fee Simple                                    C                 $ 0.00           $ 500.00
Marriott - Vail Colorado




No continuation sheets attached                                                             TOTAL $                1,179,000.00
                                                                    (Report also on Summary of Schedules.)


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B6B (Official Form 6B) (12/07)



In re Barry Thomas Mangan and Lorelei Lynn Mangan                                                         ,                  Case No.
                         Debtor(s)                                                                                                                               (if known)


                                                      SCHEDULE B-PERSONAL PROPERTY
Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories,
place an “x” in the appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly
identified with the case name, case number, and the number of the category. If the debtor is married, state whether the husband, wife, both, or the
marital community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an
individual or a joint petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G-Executory Contracts
and Unexpired Leases.
If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.” If
the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                                                                                                      Current
               Type of Property                   N             Description and Location of Property                                                   Value
                                                                                                                                                of Debtor's Interest,
                                                  o                                                                         Husband--H          in Property Without
                                                                                                                                Wife--W            Deducting any
                                                  n                                                                                              Secured Claim or
                                                                                                                               Joint--J
                                                  e                                                                       Community--C               Exemption


1. Cash on hand.                                      Cash on Hand                                                                     C                  $ 100.00
                                                      Location: In debtor's possession


2. Checking, savings or other financial               Checking accoounts @ Bank of the West (Barry                                     C              $ 12,400.00
   accounts, certificates of deposit, or shares
   in banks, savings and loan, thrift, building       & Lorelei Mangan)
   and loan, and homestead associations, or
   credit unions, brokerage houses, or
   cooperatives.

                                                      Trust Account - former attorney client                                                                  $ 0.00
                                                      account; bal of $8,253.46; funds belong to
                                                      clients; value 0
                                                      Location: In debtor's possession


3. Security deposits with public utilities,       X
   telephone companies, landlords, and
   others.
4. Household goods and furnishings,                   Household furniture & furnishings (Barry                                         C              $ 1,500.00
   including audio, video, and computer
   equipment.                                         Mangan)
                                                      Location: In debtor's possession


                                                      Household furniture & furnishings                       (Lorelei                 C              $ 2,500.00
                                                      Mangan)
                                                      Location: In debtor's possession


5. Books, pictures and other art objects,         X
   antiques, stamp, coin, record, tape,
   compact disc, and other collections or
   collectibles.

6. Wearing apparel.                                   Wearing apparel (Barry Mangan)                                                   C                  $ 500.00
                                                      Location: In debtor's possession




Page       1     of     4
                 Case: 10-50174                   Doc# 1     Filed: 01/08/10          Entered: 01/08/10 16:05:40                     Page 20 of 62
B6B (Official Form 6B) (12/07)



In re Barry Thomas Mangan and Lorelei Lynn Mangan                                                       ,     Case No.
                         Debtor(s)                                                                                                           (if known)


                                                       SCHEDULE B-PERSONAL PROPERTY
                                                                          (Continuation Sheet)

                                                                                                                                 Current
               Type of Property                    N             Description and Location of Property                             Value
                                                                                                                            of Debtor's Interest,
                                                   o                                                          Husband--H    in Property Without
                                                                                                                  Wife--W      Deducting any
                                                   n                                                                         Secured Claim or
                                                                                                                 Joint--J
                                                   e                                                        Community--C         Exemption

                                                       Wearing apparel (Lorelei Mangan)                                C          $ 1,000.00
                                                       Location: In debtor's possession


7. Furs and jewelry.                                   Jewelry (Barry Mangan)                                          C              $ 250.00
                                                       Location: In debtor's possession


                                                       Jewelry (Lorelei Mangan)                                        C          $ 1,000.00
                                                       Location: In debtor's possession


8. Firearms and sports, photographic, and          X
   other hobby equipment.

9. Interests in insurance policies. Name           X
   insurance company of each policy and
   itemize surrender or refund value of each.
10. Annuities. Itemize and name each issuer.       X

11. Interest in an education IRA as                X
    defined in 26 U.S.C. 530(b)(1) or under
    a qualified State tuition plan as defined in
    26 U.S.C. 529(b)(1). Give particulars.
    (File separately the record(s) of any such
    interest(s). 11 U.S.C. 521(c).)

12. Interests in IRA, ERISA, Keogh, or other           IRA account @ Fidelity; SEP Ira (Barry                          C          $ 4,469.64
    pension or profit sharing plans. Give
    particulars.                                       Mangan)

                                                       IRA account @ Fidelity; SEP IRA (Lorelei                        C              $ 101.07
                                                       Mangan)

                                                       IRA account @ Schwab (Barry Mangan)                             C              $ 100.00

13. Stock and interests in incorporated and        X
    unincorporated businesses. Itemize.

14. Interests in partnerships or joint ventures.   X
    Itemize.

15. Government and corporate bonds and             X
    other negotiable and non-negotiable
    instruments.
16. Accounts Receivable.                           X

17. Alimony, maintenance, support, and             X
    property settlements to which the debtor
    is or may be entitled. Give particulars.
18. Other liquidated debts owed to debtor          X
    including tax refunds. Give particulars.




Page       2     of      4
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B6B (Official Form 6B) (12/07)



In re Barry Thomas Mangan and Lorelei Lynn Mangan                                                       ,     Case No.
                         Debtor(s)                                                                                                           (if known)


                                                       SCHEDULE B-PERSONAL PROPERTY
                                                                          (Continuation Sheet)

                                                                                                                                 Current
               Type of Property                    N             Description and Location of Property                             Value
                                                                                                                            of Debtor's Interest,
                                                   o                                                          Husband--H    in Property Without
                                                                                                                  Wife--W      Deducting any
                                                   n                                                                         Secured Claim or
                                                                                                                 Joint--J
                                                   e                                                        Community--C         Exemption

19. Equitable or future interests, life estates,   X
    and rights or powers exercisable for the
    benefit of the debtor other than those
    listed in Schedule of Real Property.

20. Contingent and non-contingent interests        X
    in estate of a decedent, death benefit
    plan, life insurance policy, or trust.
21. Other contingent and unliquidated claims       X
    of every nature, including tax refunds,
    counterclaims of the debtor, and rights to
    setoff claims. Give estimated value of
    each.
22. Patents, copyrights, and other intellectual    X
    property. Give particulars.

23. Licenses, franchises, and other general        X
    intangibles. Give particulars.

24. Customer lists or other compilations           X
    containing personally identifiable
    information (as described in 11 U.S.C.
    101(41A)) provided to the debtor by
    individuals in connection with obtaining
    a product or service from the debtor
    primarily for personal, family, or
    household purposes.
25. Automobiles, trucks, trailers and other            Ford - 2000 F150; 165,000 miles; fair                           C          $ 3,500.00
    vehicles and accessories.
                                                       condtion
                                                       Location: In debtor's possession


                                                       Honda Pilot - 2009; auto is leased; not                         C                  $ 0.00
                                                       property of estate
                                                       Location: In debtor's possession


                                                       Scion - 2009 XB; 15,000 miles; good                             C        $ 14,815.00
                                                       condition
                                                       Location: In debtor's possession


                                                       Volvo - 2006; XC90; SUV; 75,000 miles; fair                     C        $ 17,575.00
                                                       condition.
                                                       Location: In debtor's possession


26. Boats, motors, and accessories.                X

27. Aircraft and accessories.                      X




Page       3     of      4
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B6B (Official Form 6B) (12/07)



In re Barry Thomas Mangan and Lorelei Lynn Mangan                                                ,              Case No.
                         Debtor(s)                                                                                                                 (if known)


                                                  SCHEDULE B-PERSONAL PROPERTY
                                                                   (Continuation Sheet)

                                                                                                                                       Current
                 Type of Property             N           Description and Location of Property                                          Value
                                                                                                                                  of Debtor's Interest,
                                              o                                                                 Husband--H        in Property Without
                                                                                                                    Wife--W          Deducting any
                                              n                                                                                    Secured Claim or
                                                                                                                   Joint--J
                                              e                                                               Community--C             Exemption

28. Office equipment, furnishings, and        X
    supplies.

29. Machinery, fixtures, equipment and        X
    supplies used in business.

30. Inventory.                                X

31. Animals.                                  X

32. Crops - growing or harvested.             X
    Give particulars.

33. Farming equipment and implements.         X

34. Farm supplies, chemicals, and feed.       X

35. Other personal property of any kind not   X
    already listed. Itemize.




Page       4      of   4                                                                                   Total                        $ 59,810.71
                   Case: 10-50174             Doc# 1   Filed: 01/08/10        Entered: 01/08/10 16:05:40                Page 23 of 62
                                                                                                               (Report total also on Summary of Schedules.)
                                                                                                     Include amounts from any continuation sheets attached.
B6C (Official Form 6C) (12/07)




In re Barry Thomas Mangan and Lorelei Lynn Mangan                                              ,                  Case No.
                        Debtor(s)                                                                                                                 (if known)


                                    SCHEDULE C-PROPERTY CLAIMED AS EXEMPT

Debtor claims the exemptions to which debtor is entitled under:          Check if debtor claims a homestead exemption that exceeds $136,875.
(Check one box)
   11 U.S.C. § 522(b) (2)
   11 U.S.C. § 522(b) (3)




                                                                     Specify Law                               Value of                 Current
             Description of Property                                Providing each                             Claimed             Value of Property
                                                                      Exemption                               Exemption            Without Deducting
                                                                                                                                      Exemptions


Cash on Hand                                        Calif. C.C.P. §703.140(b)(5)                                   $ 100.00                    $ 100.00

Checking accoounts @ Bank of                        Calif. C.C.P. §703.140(b)(5)                              $ 12,400.00               $ 12,400.00
the West

Household furniture &                               Calif. C.C.P. §703.140(b)(3)                                $ 2,500.00                $ 2,500.00
furnishings

Household furniture &                               Calif. C.C.P. §703.140(b)(3)                                $ 1,500.00                $ 1,500.00
furnishings

Wearing apparel                                     Calif. C.C.P. §703.140(b)(3)                                $ 1,000.00                $ 1,000.00

Wearing apparel                                     Calif. C.C.P. §703.140(b)(3)                                   $ 500.00                    $ 500.00

Jewelry                                             Calif. C.C.P. §703.140(b)(4)                                $ 1,000.00                $ 1,000.00

Jewelry                                             Calif. C.C.P. §703.140(b)(3)                                   $ 250.00                    $ 250.00

IRA account @ Fidelity                              Calif. C.C.P. §703.140(b)(10)(E)                               $ 101.07                    $ 101.07

IRA account @ Fidelity                              Calif. C.C.P. §703.140(b)(10)(E)                            $ 4,469.64                $ 4,469.64

IRA account @ Schwab                                Calif. C.C.P. §703.140(b)(10)(E)                               $ 100.00                    $ 100.00

Ford                                                Calif. C.C.P. §703.140(b)(2)                                $ 3,300.00                $ 3,500.00
                                                    Calif. C.C.P. §703.140(b)(5)                                  $ 200.00

Scion                                               Calif. C.C.P. §703.140(b)(5)                                $ 3,132.00              $ 14,815.00

Volvo                                               Calif. C.C.P. §703.140(b)(5)                                   $ 998.00             $ 17,575.00




    Page No.      1 of       1
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B6D (Official Form 6D) (12/07)



In re Barry Thomas Mangan and Lorelei Lynn Mangan                                                    ,                                    Case No.
                           Debtor(s)                                                                                                                                              (if known)

                            SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

          State the name, mailing address, including zip code, and last four digits of any account number of all entities holding
claims secured by property of the debtor as of the date of filing of the petition. The complete account number of any account the
debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so. List
creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust,
and other security interests.
          List creditors in alphabetical order to the extent practicable. If a minor child is the creditor, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the
child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the
continuation sheet provided.
          If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled
“Codebtor,” include the entity on the appropriate schedule of creditors, and complete Schedule H – Codebtors. If a joint petition is
filed, state whether the husband, wife, both of them, or the marital community may be liable on each claim by placing an “H,” “W,”
“J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”
          If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the
column labeled “Unliquidated.” If the claim is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an
“X” in more than one of these three columns.)
          Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in
the boxes labeled “Total(s)” on the last sheet of the completed schedule. Report the total from the column labeled “Amount of
Claim Without Deducting Value of Collateral” also on the Summary of Schedules and, if the debtor is an individual with primarily
consumer debts, report the total from the column labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain

    Check this box if debtor has no creditors holding secured claims to report on this Schedule D.


                Creditor's Name and                            Date Claim was Incurred, Nature                                         Amount of Claim                   Unsecured
                  Mailing Address                              of Lien, and Description and Market                                           Without                   Portion, If Any
                                                                                                                     Unliquidated


              Including ZIP Code and
                                                                                                                     Contingent




                                                               Value of Property Subject to Lien
                                                   Co-Debtor




                                                                                                                                       Deducting Value
                                                                                                                     Disputed


                  Account Number
              (See Instructions Above.)                        H--Husband                                                                 of Collateral
                                                               W--Wife
                                                               J--Joint
                                                               C--Community
Account No:
        2350                                                   C 2004-11-17                                                              $ 239,855.00                    $ 43,451.02
Creditor # : 1                                                   First Deed of Trust
America's Servicing Co                                           Rental Cabin - 22760 Placer
PO Box 10328                                                     Dr., Twain Harte, CA
Des Moines IA 50306

                                                                  Value:   $ 200,000.00
Account No:   2350
Representing:                                                     First American Loanstar
                                                                  P.O. Box 961253
America's Servicing Co                                            Fort Worth TX 76161


                                                                  Value:

Account No:
        3441                                                   C 2006-09-19                                                              $ 192,271.00                    $ 14,576.96
Creditor # : 2                                                   First Deed of Trust
BAC Home Loans                                                   duplex - 22101 Crystal Falls
PO Box 5170                                                      Dr., Sonora, CA
Simi Valley CA 93062

                                                                  Value:   $ 180,000.00
2      continuation sheets attached                                                                             Subtotal $               $ 432,126.00                     $ 58,027.98
                                                                                                             (Total of this page)
                                                                                                                      Total $
                                                                                                         (Use only on last page)
                                                                                                                                    (Report also on Summary of   (If applicable, report also on
                                                                                                                                    Schedules.)                  Statistical Summary of
               Case: 10-50174               Doc# 1                Filed: 01/08/10         Entered: 01/08/10 16:05:40                                Page 25   ofLiabilities
                                                                                                                                                          Certain 62 and
                                                                                                                                                                 Related Data)
B6D (Official Form 6D) (12/07)   - Cont.



In re Barry Thomas Mangan and Lorelei Lynn Mangan                                                       ,                                    Case No.
                           Debtor(s)                                                                                                                                                 (if known)

                            SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS


                                                                                 (Continuation Sheet)

                Creditor's Name and                            Date Claim was Incurred, Nature                                            Amount of Claim                   Unsecured
                  Mailing Address                              of Lien, and Description and Market                                              Without                   Portion, If Any




                                                                                                                        Unliquidated
              Including ZIP Code and




                                                                                                                        Contingent
                                                               Value of Property Subject to Lien
                                                   Co-Debtor
                                                                                                                                          Deducting Value




                                                                                                                        Disputed
                  Account Number
              (See Instructions Above.)                        H--Husband                                                                    of Collateral
                                                               W--Wife
                                                               J--Joint
                                                               C--Community
Account No:                                                    C                                                                              $ 30,000.00                   $ 30,000.00
Creditor # : 3                                                     second deed of trust
Ralph Bautista                                                     Rental Cabin - Twain Harte -
23386 Calle Pepita Road                                            22760 Placer Dr.
Corona CA 92883

                                                                 Value: $ 200,000.00

Account No:                                                    C 2009                                                                              $ 500.00                         $ 500.00
Creditor # : 4                                                   lien on title
Birch at Streamside HOA                                          Timeshare
c/o Larsen & Lynch
175 Main Street, C-104
Edwards CO 81632
                                                                   Value:   $ 0.00
Account No:

Representing:                                                      Marriotts Vacation Internat'l
                                                                   PO Box 8038
Birch at Streamside HOA                                            Lakeland FL 33802


                                                                   Value:

Account No:
        0001                                                   W 2008-06-24                                                                   $ 11,683.00                              $ 0.00
Creditor # : 5                                                   lien on title
Toyota Financial Services                                        2009 Scion Xb
PO Box 60114
City of Industry CA 91716

                                                                 Value: $ 14,815.00
Account No:                                                    C 2008-2009                                                                      $ 2,305.96                             $ 0.00
Creditor # : 6                                                   County Property Tax
Tuolumne County Tax Collector                                    Rental Duplex - Sonora - 22101
PO Box 3248                                                      Crystal Falls Dr.
Sonora CA 95370

                                                                   Value:   $ 180,000.00
Account No:                                                    C 2009                                                                           $ 3,596.02                             $ 0.00
Creditor # : 7                                                   County Property Tax
Tuolumne County Tax Collector                                    Rental Cabin - Twain Harte -
PO Box 3248                                                      22760 Placer Dr.
Sonora CA 95370

                                                                   Value:   $ 200,000.00
Sheet no. 1        of 2      continuation sheets attached to Schedule of Creditors                                 Subtotal $                 $ 48,084.98                    $ 30,500.00
Holding Secured Claims                                                                                          (Total of this page)
                                                                                                                         Total $
                                                                                                            (Use only on last page)
                                                                                                                                       (Report also on Summary of   (If applicable, report also on
                                                                                                                                       Schedules.)                  Statistical Summary of
               Case: 10-50174              Doc# 1                  Filed: 01/08/10          Entered: 01/08/10 16:05:40                                 Page 26   ofLiabilities
                                                                                                                                                             Certain 62 and
                                                                                                                                                                    Related Data)
B6D (Official Form 6D) (12/07)   - Cont.



In re Barry Thomas Mangan and Lorelei Lynn Mangan                                                      ,                                    Case No.
                           Debtor(s)                                                                                                                                                (if known)

                            SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS


                                                                                (Continuation Sheet)

                Creditor's Name and                            Date Claim was Incurred, Nature                                           Amount of Claim                   Unsecured
                  Mailing Address                              of Lien, and Description and Market                                             Without                   Portion, If Any




                                                                                                                       Unliquidated
              Including ZIP Code and




                                                                                                                       Contingent
                                                               Value of Property Subject to Lien
                                                   Co-Debtor
                                                                                                                                         Deducting Value




                                                                                                                       Disputed
                  Account Number
              (See Instructions Above.)                        H--Husband                                                                   of Collateral
                                                               W--Wife
                                                               J--Joint
                                                               C--Community
Account No:
        3360                                                   C 2007-10-11                                                                $ 852,539.00                    $ 53,539.00
Creditor # : 8                                                   First Deed of Trust
Wachovia Mortgage                                                Residene - 1842 Frobisher Way,
Loan Svc. Customer Support                                       San Jose CA
P.O. Box 659558
San Antonio TX 78265
                                                                  Value:   $ 799,000.00
Account No:   3360
Representing:                                                     Cal-Western Reconveyance
                                                                  PO Box 22004
Wachovia Mortgage                                                 El Cajon CA 92002


                                                                  Value:

Account No:
        0730                                                   C 2008-2009                                                                   $ 19,992.00                   $ 19,992.00
Creditor # : 9                                                   second deed of trust
Wells Fargo                                                      Residence - 1842 Frobisher
P.O. Box 10347                                                   Way, San Jose, CA
Des Moines IA 50306

                                                                 Value: $ 799,000.00

Account No:
        9001                                                   H 2008-09-17                                                                  $ 16,577.00                              $ 0.00
Creditor # : 10                                                  lien on title
Wells Fargo                                                      2006 Volvo XCR SUV
PO Box 29704
Phoenix AZ 85038

                                                                  Value:   $ 17,575.00
Account No:




                                                                  Value:
Account No:




                                                                  Value:

Sheet no. 2        of 2      continuation sheets attached to Schedule of Creditors                                Subtotal $               $ 889,108.00                     $ 73,531.00
Holding Secured Claims                                                                                         (Total of this page)
                                                                                                                        Total $         $ 1,369,318.98                   $ 162,058.98
                                                                                                           (Use only on last page)
                                                                                                                                      (Report also on Summary of   (If applicable, report also on
                                                                                                                                      Schedules.)                  Statistical Summary of
               Case: 10-50174              Doc# 1                 Filed: 01/08/10          Entered: 01/08/10 16:05:40                                 Page 27 of 62Certain Liabilities and
                                                                                                                                                                   Related Data)
   B6E (Official Form 6E) (12/07)


   In re Barry Thomas Mangan and Lorelei Lynn Mangan                                                                        ,                               Case No.
                              Debtor(s)                                                                                                                                          (if known)
                     SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

            A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
   unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address,
   including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the property of the
   debtor, as of the date of the filing of the petition. Use a separate continuation sheet for each type of priority and label each with the type of priority.

          The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the
   debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as
   "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

          If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on
   the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them
   or the marital community may be liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community." If
   the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If
   the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

          Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E
   in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

           Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts
   entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with primarily
   consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

            Report the total of amounts NOT entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all
   amounts not entitled to priority listed on this Schedule E in the box labeled "Total" on the last sheet of the completed schedule. Individual debtors with
   primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

          Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

   TYPES OF PRIORITY CLAIMS                       (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)

          Domestic Support Obligations
          Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
          or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent
          provided in 11 U.S.C. § 507(a)(1).

          Extensions of credit in an involuntary case
          Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of
          the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

          Wages, salaries, and commissions
          Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to
          qualifying independent sales representatives up to $10,950* per person earned within 180 days immediately preceding the filing of the original
          petition, or the cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

          Contributions to employee benefit plans
          Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
          cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

          Certain farmers and fishermen
          Claims of certain farmers and fishermen, up to $5,400* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

          Deposits by individuals
          Claims of individuals up to $2,425* for deposits for the purchase, lease, or rental of property or services for personal, family, or household
          use, that were not delivered or provided. 11 U.S.C. § 507(a)(7).

          Taxes and Certain Other Debts Owed to Governmental Units
          Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

          Commitments to Maintain the Capital of an Insured Depository Institution
          Claims based on commitments to FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of
          the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. §
          507(a)(9).
          Claims for Death or Personal Injury While Debtor Was Intoxicated
          Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
          alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).

*Amounts are subject to adjustment on April 1, 2010, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

                                                                                    1 No continuation sheets attached
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Official Form 6E (12/07) - Cont.




In re Barry Thomas Mangan and Lorelei Lynn Mangan                                                                             ,                            Case No.
                           Debtor(s)                                                                                                                                              (if known)

                SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                             (Continuation Sheet)
Type of Priority for Claims Listed on This Sheet:              Taxes and Certain Other Debts Owed to Governmental Units

     Creditor's Name, Mailing Address                                        Date Claim was Incurred and                                             Amount of     Amount        Amount not
                                                                               Consideration for Claim                                                Claim       Entitled to    Entitled to
               Including ZIP Code,                                                                                                                                 Priority       Priority,




                                                                                                                                      Unliquidated
                                                                                                                                      Contingent
              and Account Number

                                                         Co-Debtor
                                                                                                                                                                                   if any




                                                                                                                                      Disputed
                                                                     H--Husband
              (See instructions above.)                              W--Wife
                                                                     J--Joint
                                                                     C--Community

Account No:                                                          C 2007                                                                          $ 6,280.75 $ 6,280.75            $ 0.00
Creditor # : 1                                                         taxes
Internal Revenue Service                                               income taxes
Centralized Insolvency
P.O. Box 21126
Philadelphia PA 19114

Account No:

Representing:                                                          Internal Revenue Service
Internal Revenue Service                                               Insolvency Group 5
                                                                       58 So Market Street
                                                                       San Jose CA 95113

Account No:




Account No:




Account No:




Account No:




Sheet No.                                                                                                                         Subtotal $          6,280.75        6,280.75          0.00
               1 of         1      continuation sheets                                                                      (Total of this page)
attached to Schedule of Creditors Holding Priority Claims                                                                            Total $
                                                                       (Use only on last page of the com pleted Schedule E. Report total also         6,280.75
                                                                                                                 on Sum m ary of Schedules)

                                                                                                                                     Total $
                                                                          (Use only on last page of the com pleted Schedule E. If applicable,                         6,280.75          0.00
                                                                            report also on the Statistical Sum m ary of Certain Liabilities and




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B6F (Official Form 6F) (12/07)


In re Barry Thomas Mangan and Lorelei Lynn Mangan                                                                  ,                                   Case No.
                           Debtor(s)                                                                                                                                                                       (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
         State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without
priority against the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the
debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a
creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not include claims listed in Schedules D and E. If all
creditors will not fit on this page, use the continuation sheet provided.

      If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity
on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of
them, or the marital community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or
Community."

         If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled
"Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three
columns.)

       Report total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedules. Report this total also on
   Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.


         Creditor's Name, Mailing Address                                     Date Claim was Incurred,                                                                                           Amount of Claim
                                                                              and Consideration for Claim.




                                                                                                                                                                       Unliquidated
                                                        Co-Debtor




                  including Zip Code,




                                                                                                                                                        Contingent
                                                                               If Claim is Subject to Setoff, so State.




                                                                                                                                                                                      Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
Account No:                                                         C   2008                                                                                                                           $ 1,500.00
Creditor # : 1                                                          office exepenses
Altera Real Estate
c/o West Coast Recovery
1501 Secret Ravine Pkwy, #317
Roseville CA 95661

          3633
Account No:                                                         C   2008-2009                                                                                                                      $ 4,315.00
Creditor # : 2                                                          Credit Card Purchases
American Express
PO Box 297879
Fort Lauderdale FL 33329


          8732
Account No:                                                         C   2008-2009                                                                                                                     $ 12,159.00
Creditor # : 3                                                          Credit Card Purchases
Bank Of America
Po Box 1598
Norfolk VA 23501


          6190
Account No:                                                         C   2008-2009                                                                                                                     $ 10,794.00
Creditor # : 4                                                          Credit Card Purchases
Bank of America
P.O. Box 15026
Wilmington DE 19850-5026



     6 continuation sheets attached                                                                                                                  Subtotal $                                       $ 28,768.00
                                                                                                                                                                     Total $
                                                                                (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                        Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related


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In re Barry Thomas Mangan and Lorelei Lynn Mangan                                                                  ,                                   Case No.
                           Debtor(s)                                                                                                                                                                       (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                     (Continuation Sheet)


         Creditor's Name, Mailing Address                                     Date Claim was Incurred,                                                                                           Amount of Claim
                                                                              and Consideration for Claim.




                                                                                                                                                                       Unliquidated
                                                        Co-Debtor
                  including Zip Code,




                                                                                                                                                        Contingent
                                                                               If Claim is Subject to Setoff, so State.




                                                                                                                                                                                      Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
          1262
Account No:                                                         C   2008-2009                                                                                                                     $ 17,763.00
Creditor # : 5                                                          Credit Card Purchases
Bank of America
P.O. Box 15026
Wilmington DE 19850-5026


          2496
Account No:                                                         C   2008-2009                                                                                                                     $ 17,693.30
Creditor # : 6                                                          balance transfer/purchases
Bank of America
P.O. Box 15026
Wilmington DE 19850-5026


Account No:                                                         H   2009                                                                                                           X              $ 17,000.00
Creditor # : 7                                                          Claim for rent
Honorene Carter                                                         1815 Hillsdale Ave, San Jose, CA
PO Box 4933
San Jose CA 95150


          1534
Account No:                                                         C   2008-2009                                                                                                                     $ 14,821.00
Creditor # : 8                                                          Credit Card Purchases
Chase
PO Box 15298
Wilmington DE 19850


          2851
Account No:                                                         C   2009                                                                                                                           $ 1,846.00
Creditor # : 9                                                          Credit Card Purchases
Chase
PO Box 15298
Wilmington DE 19850


          8605
Account No:                                                         C   1995-11-01                                                                                                                     $ 6,229.00
Creditor # : 10                                                         Credit Card Purchases
Chase
PO Box 15298
Wilmington DE 19850




Sheet No.      1 of        6 continuation sheets attached to Schedule of                                                                             Subtotal $                                       $ 75,352.30
Creditors Holding Unsecured Nonpriority Claims                                                                                                                       Total $
                                                                                (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                        Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related


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In re Barry Thomas Mangan and Lorelei Lynn Mangan                                                                  ,                                   Case No.
                           Debtor(s)                                                                                                                                                                       (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                     (Continuation Sheet)


         Creditor's Name, Mailing Address                                     Date Claim was Incurred,                                                                                           Amount of Claim
                                                                              and Consideration for Claim.




                                                                                                                                                                       Unliquidated
                                                        Co-Debtor
                  including Zip Code,




                                                                                                                                                        Contingent
                                                                               If Claim is Subject to Setoff, so State.




                                                                                                                                                                                      Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
          2599
Account No:                                                         C   2007-2009                                                                                                                     $ 11,346.00
Creditor # : 11                                                         Credit Card Purchases
Chase
PO Box 15298
Wilmington DE 19850


          2388
Account No:                                                         C   2007-2009                                                                                                                     $ 12,557.00
Creditor # : 12                                                         Credit Card Purchases
Chase
PO Box 15298
Wilmington DE 19850


          6188
Account No:                                                         C   2008-2009                                                                                                                     $ 17,975.00
Creditor # : 13                                                         Credit Card Purchases
Citi Platinum Select
P.O. Box 6000
The Lakes NV 89163-6000


          9365
Account No:                                                         C   2008-2009                                                                                                                     $ 13,787.00
Creditor # : 14                                                         Credit Card Purchases
Discover
P.O. Box 30943
Salt Lake City UT 84130


          8774
Account No:                                                         C   2009                                                                                                                           $ 2,428.00
Creditor # : 15                                                         gasoline purchases
Gemb/Chevron
Attn: Bankruptcy Department
PO Box 10314
Roswell GA 30076

          9921
Account No:                                                         C   2009                                                                                                                              $ 241.00
Creditor # : 16                                                         Clothing purchases
GEMB/JCPenney
ATTN: Bankruptcy Dept
PO Box 103104
Roswell GA 30076




Sheet No.      2 of        6 continuation sheets attached to Schedule of                                                                             Subtotal $                                       $ 58,334.00
Creditors Holding Unsecured Nonpriority Claims                                                                                                                       Total $
                                                                                (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                        Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related


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In re Barry Thomas Mangan and Lorelei Lynn Mangan                                                                  ,                                   Case No.
                           Debtor(s)                                                                                                                                                                       (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                     (Continuation Sheet)


         Creditor's Name, Mailing Address                                     Date Claim was Incurred,                                                                                           Amount of Claim
                                                                              and Consideration for Claim.




                                                                                                                                                                       Unliquidated
                                                        Co-Debtor
                  including Zip Code,




                                                                                                                                                        Contingent
                                                                               If Claim is Subject to Setoff, so State.




                                                                                                                                                                                      Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
          1610
Account No:                                                         C   2007                                                                                                                              $ 640.00
Creditor # : 17                                                         Clothing purchases
Gemb/Mervyns
PO Box 981400
El Paso TX 79998


Account No:                                                         C   2008-2009                                                                                                                           $ 0.00
Creditor # : 18                                                         Claim for rent
James Georgianni                                                        duplicative of Honorene Carter
PO Box 4933
San Jose CA 95150


Account No:                                                         W   1/2009 to 11/2009                                                                                                             $ 55,000.00
Creditor # : 19                                                         loans
Cecilia Henderson
1703 Silverwood Drive
San Jose CA 95124


Account No:                                                         W   8/2009                                                                                                                        $ 10,000.00
Creditor # : 20                                                         loan
Eric Henderson
PO Box 2501
Palmer AK 99645


          6744
Account No:                                                         W   2008-08-21                                                                                                                    $ 15,250.00
Creditor # : 21                                                         balance due on automobile lease
Honda Financial Services
PO Box 5025
San Ramon CA 94583


Account No:                                                         C   2009                                                                                                                              $ 265.00
Creditor # : 22                                                         services
Househunt Inc
19671 Beach Blvd., Ste 208
Huntington Beach CA 92648




Sheet No.      3 of        6 continuation sheets attached to Schedule of                                                                             Subtotal $                                       $ 81,155.00
Creditors Holding Unsecured Nonpriority Claims                                                                                                                       Total $
                                                                                (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                        Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related


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In re Barry Thomas Mangan and Lorelei Lynn Mangan                                                                  ,                                   Case No.
                           Debtor(s)                                                                                                                                                                       (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                     (Continuation Sheet)


         Creditor's Name, Mailing Address                                     Date Claim was Incurred,                                                                                           Amount of Claim
                                                                              and Consideration for Claim.




                                                                                                                                                                       Unliquidated
                                                        Co-Debtor
                  including Zip Code,




                                                                                                                                                        Contingent
                                                                               If Claim is Subject to Setoff, so State.




                                                                                                                                                                                      Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
Account No:                                                         C   2005                                                                                                                          $ 50,902.00
Creditor # : 23                                                         taxes
Internal Revenue Service                                                dischargeable income taxes
Centralized Insolvency
P.O. Box 21126
Philadelphia PA 19114

Account No:

Representing:                                                           Internal Revenue Service
                                                                        Insolvency Group 5
Internal Revenue Service
                                                                        58 So Market Street
                                                                        San Jose CA 95113


Account No:                                                         C   2009                                                                                                                           $ 2,832.00
Creditor # : 24                                                         insurance premium
Kaiser Foundation Health Plan
PO Box 7141
Pasadena CA 91109


          47
Account No:                                                         C   2009                                                                                                                              $ 737.00
Creditor # : 25                                                         Clothing purchases
Macys
Bankruptcy Processing
PO Box 8053
Mason OH 45040

Account No:                                                         H   2007                                                                                                                          $ 30,000.00
Creditor # : 26                                                         loan
Helen Mangan
2750 Artesia Blvd., #343
Redondo Beach CA 90278


          1557
Account No:                                                         C   2008                                                                                                                           $ 2,002.00
Creditor # : 27                                                         Clothing purchases
Nordstrom
P.O. Box 79137
Phoenix AZ 85062-9137




Sheet No.      4 of        6 continuation sheets attached to Schedule of                                                                             Subtotal $                                       $ 86,473.00
Creditors Holding Unsecured Nonpriority Claims                                                                                                                       Total $
                                                                                (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                        Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related


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In re Barry Thomas Mangan and Lorelei Lynn Mangan                                                                  ,                                   Case No.
                           Debtor(s)                                                                                                                                                                       (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                     (Continuation Sheet)


         Creditor's Name, Mailing Address                                     Date Claim was Incurred,                                                                                           Amount of Claim
                                                                              and Consideration for Claim.




                                                                                                                                                                       Unliquidated
                                                        Co-Debtor
                  including Zip Code,




                                                                                                                                                        Contingent
                                                                               If Claim is Subject to Setoff, so State.




                                                                                                                                                                                      Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
          3303
Account No:                                                         C   2009                                                                                                                           $ 2,139.00
Creditor # : 28                                                         gasoline purchases
Phillips 66 - Conoco - 76
PO Box 689140
Des Moines IA 50368-9140


Account No:                                                         C   2009                                                                                                                           $ 1,232.00
Creditor # : 29                                                         dental services
Douglas Roth
1688 Willow Street, #F
San Jose CA 95125


          6373
Account No:                                                         C   2008-2009                                                                                                                      $ 3,250.00
Creditor # : 30                                                         Credit Card Purchases
Sears Card
P.O. Box 6283
Sioux Falls SD 57117-6283


          5826
Account No:                                                         C   2009                                                                                                                              $ 809.00
Creditor # : 31                                                         Credit Card Purchases
Target National Bank
PO Box 59317
Minneapolis MN 55459-0317


          9668
Account No:                                                         C   2008-2009                                                                                                                      $ 9,970.00
Creditor # : 32                                                         Credit Card Purchases
The Home Depot
P.O. Box 689100
Des Moines IA 50368-9100


          1947
Account No:                                                         C   2009                                                                                                                              $ 298.00
Creditor # : 33                                                         gasoline purchases
Valero
PO Box 631
Amarillo TX 79105




Sheet No.      5 of        6 continuation sheets attached to Schedule of                                                                             Subtotal $                                       $ 17,698.00
Creditors Holding Unsecured Nonpriority Claims                                                                                                                       Total $
                                                                                (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                        Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related


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In re Barry Thomas Mangan and Lorelei Lynn Mangan                                                                  ,                                   Case No.
                           Debtor(s)                                                                                                                                                                       (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                     (Continuation Sheet)


         Creditor's Name, Mailing Address                                     Date Claim was Incurred,                                                                                           Amount of Claim
                                                                              and Consideration for Claim.




                                                                                                                                                                       Unliquidated
                                                        Co-Debtor
                  including Zip Code,




                                                                                                                                                        Contingent
                                                                               If Claim is Subject to Setoff, so State.




                                                                                                                                                                                      Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
          3749
Account No:                                                         C   2007-2009                                                                                                                     $ 22,834.00
Creditor # : 34                                                         Credit Card Purchases
Wells Fargo
PO Box 10347
Des Moines IA 50306


Account No:                                                         C   2008-2009                                                                                                                      $ 3,080.00
Creditor # : 35                                                         Advertising
Zillow.com
999 3rd Avenue, Ste 4600
Seattle WA 98104


Account No:




Account No:




Account No:




Account No:




Sheet No.      6 of        6 continuation sheets attached to Schedule of                                                                             Subtotal $                                       $ 25,914.00
Creditors Holding Unsecured Nonpriority Claims                                                                                                                       Total $
                                                                                (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of                                    $ 373,694.30
                                                                        Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related


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B6G (Official Form 6G) (12/07)




In re Barry Thomas Mangan and Lorelei Lynn Mangan                                                              / Debtor             Case No.
                                                                                                                                                                        (if known)


                  SCHEDULE G-EXECUTORY CONTRACTS AND UNEXPIRED LEASES

Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State the nature of
debtor's interests in contract, i.e., "Purchaser," "Agent," etc. State whether debtor is the lessor or lessee of a lease. Provide the names and complete mailing
addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See,
11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).



   Check this box if the debtor has no executory contracts or unexpired leases.

               Name and Mailing Address,                                                        Description of Contract or Lease and
                 Including Zip Code, of                                                              Nature of Debtor's Interest.
                 Other Parties to Lease                                                State whether Lease is for Nonresidential Real Property.
                      or Contract.                                                      State Contract Number of any Government Contract.

Honda Financial Services                                        Contract Type: automobile lease
PO Box 5025                                                     Terms:
San Ramon CA 94583                                              Beginning date:
                                                                Debtor's Interest: Lessor
                                                                Description: lease for Honda Pilot
                                                                Buyout Option:none




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                                                                                                                                                   of 62 1                of     1
B6H (Official Form 6H) (12/07)




In re Barry Thomas Mangan and Lorelei Lynn Mangan                                             / Debtor         Case No.
                                                                                                                                            (if known)


                                                    SCHEDULE H-CODEBTORS

Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the
debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
Wisconsin) within the eight year period immediately preeceding the commencement of the case, identify the name of the debtors spouse and of
any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used by
the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
   Check this box if the debtor has no codebtors.

                        Name and Address of Codebtor                                             Name and Address of Creditor




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In re Barry Thomas Mangan and Lorelei Lynn Mangan                                                         ,                    Case No.
                          Debtor(s)                                                                                                                       (if known)


                          SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled “Spouse” must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
   Debtor's Marital                                                                  DEPENDENTS OF DEBTOR AND SPOUSE
     Status:                       RELATIONSHIP(S):                                                                                AGE(S):
      Married                      daughter                                                                                        15
  EMPLOYMENT:                                                   DEBTOR                                                                       SPOUSE

  Occupation                     Real Estate Agent                                                        Real Estate Agent
  Name of Employer                                                                                        Keller Williams
  How Long Employed              26 years                                                                 23 years
  Address of Employer                                                                                      2110 S. Bascom Ave Ste 101
                                                                                                           Campbell CA 95008
  INCOME: (Estimate of average or projected monthly income at time case filed)                                            DEBTOR                             SPOUSE
  1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                            $                            0.00 $                             0.00
  2. Estimate monthly overtime                                                                             $                            0.00 $                             0.00
  3. SUBTOTAL                                                                                              $                            0.00 $                             0.00
  4. LESS PAYROLL DEDUCTIONS
      a. Payroll taxes and social security                                                                 $                            0.00      $                        0.00
      b. Insurance                                                                                         $                            0.00      $                        0.00
      c. Union dues                                                                                        $                            0.00      $                        0.00
      d. Other (Specify):                                                                                  $                            0.00      $                        0.00
  5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                        $                            0.00 $                             0.00
  6. TOTAL NET MONTHLY TAKE HOME PAY                                                                       $                           0.00       $                     0.00
  7. Regular income from operation of business or profession or farm (attach detailed statement)           $                       4,500.00       $                 5,500.00
  8. Income from real property                                                                             $                         800.00       $                 1,000.00
  9. Interest and dividends                                                                                $                           0.00       $                     0.00
  10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or that          $                           0.00       $                     0.00
  of dependents listed above.
  11. Social security or government assistance
    (Specify):                                                                                             $                            0.00 $                             0.00
  12. Pension or retirement income                                                                         $                            0.00 $                             0.00
  13. Other monthly income
    (Specify):                                                                                             $                            0.00 $                             0.00

  14. SUBTOTAL OF LINES 7 THROUGH 13                                                                          $                    5,300.00 $                       6,500.00
  15. AVERAGE MONTHLY INCOME                 (Add amounts shown on lines 6 and 14)                            $                    5,300.00 $                       6,500.00
  16. COMBINED AVERAGE MONTHLY INCOME:                 (Combine column totals                                                  $                11,800.00
    from line 15; if there is only one debtor repeat total reported on line 15)
                                                                                                                  (Report also on Summary of Schedules and, if applicable, on
                                                                                                                   Statistical Summary of Certain Liabilities and Related Data)


  17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:

                  real estate income/real estate business expense is estimated for both debtors.




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In re Barry Thomas Mangan and Lorelei Lynn Mangan                                                             ,                           Case No.
                            Debtor(s)                                                                                                                                        (if known)

                          SCHEDULE J-CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR

        Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family. Prorate any payments
made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly expenses calculated on this form may differ from
the deductions from income allowed on Form 22 A or 22C.
    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of expenditures labeled
    "Spouse."

 1. Rent or home mortgage payment (include lot rented for mobile home)                                                                                   $                     800.00
                                                                             .....................................................................................................................
       a. Are real estate taxes included?        Yes         No
       b. Is property insurance included?        Yes         No
 2. Utilities: a. Electricity and heating fuel                                                                                                            $                        0.00
                                                ..................................................................................................................................................
                b. Water and sewer                                                                                                                        $                        0.00
                c. Telephone       ..............................................................................................................................................................
                                                                                                                                                          $                    120.00
                d. Other      PG&E                                                                                                                        $                        0.00
                  Other       cable/dsl
                             ...................................................................................................................................................................
                                                                                                                                                          $                      50.00

 3. Home maintenance (repairs and upkeep)                                                                                                                 $                         0.00
                                                   ..............................................................................................................................................
 4. Food                                                                                                                                             $                     300.00
 5. Clothing                                                                                                                                         $                     100.00
             .................................................................................................................................................................................
 6. Laundry and dry cleaning                                                                                                                         $                      60.00
 7. Medical and dental expenses                                                                                                                           $                        0.00
                                         ........................................................................................................................................................
 8. Transportation (not including car payments)                                                                                                           $                     500.00
 9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                                                                     $                         0.00
                                                                             ..................................................................................................................
 10. Charitable contributions                                                                                                                             $                      50.00
 11. Insurance (not deducted from wages or included in home mortgage payments)
              a. Homeowner's or renter's                                                                                                                  $                         0.00
                                             ....................................................................................................................................................
              b. Life                                                                                                                                     $                        0.00
              c. Health                                                                                                                                  $                         0.00
                           ......................................................................................................................................................................
              d. Auto                                                                                                                                 $                     150.00
              e. Other                                                                                                                                $                         0.00
                      ........................................................................................................................................................................
                Other                                                                                                                                 $                         0.00


  12. Taxes (not deducted from wages or included in home mortgage)
  (Specify)       Self Employment                                                                                                                         $                     500.00
  13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the plan)
           a. Auto                                                                                                                                        $                     429.00
                          ........................................................................................................................................................................
           b. Other:      Honda Lease                                                                                                                     $                         0.00
           c. Other:      Scion      purchase                                                                                                                                       0.00
                          ........................................................................................................................................................................
                                                                                                                                                          $


  14. Alimony, maintenance, and support paid to others                                                                                                    $                        0.00
                                                              ..................................................................................................................................
  15. Payments for support of additional dependents not living at your home                                                                              $                        0.00
  16. Regular expenses from operation of business, profession, or farm (attach detailed statement)                                                       $                 2,000.00
                                                                                                         ....................................................................................
  17. Other:      miscellaneous                                                                                                                          $                    125.00
     Other:                                                                                                                                              $                        0.00
                  ...............................................................................................................................................................................
                                                                                                                                                                                   0.00
  18. AVERAGE MONTHLY EXPENSES Total lines 1-17. Report also on Summary of Schedules                                                                      $                 5,184.00
     and, if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
  19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year following the filing of this document:
      Lorelei Mangan's rent of $2,200 begins 2/1/2010.
  20. STATEMENT OF MONTHLY NET INCOME
      a. Average monthly income from Line 16 of Schedule I                                                                                                $               11,800.00
      b. Average monthly expenses from Line 18 above                                                                                                      $               11,671.00
      c. Monthly net income (a. minus b.)                                                                                                                 $                  129.00


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In re Barry Thomas Mangan and Lorelei Lynn Mangan                                                             ,                           Case No.
                            Debtor(s)                                                                                                                                        (if known)

        SCHEDULE J-CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR'S SPOUSE

        Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family. Prorate any payments
made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly expenses calculated on this form may differ from
the deductions from income allowed on Form 22 A or 22C.




 1. Rent or home mortgage payment (include lot rented for mobile home)                                                                                   $                  2,200.00
                                                                             .....................................................................................................................
       a. Are real estate taxes included?        Yes         No
       b. Is property insurance included?        Yes         No
 2. Utilities: a. Electricity and heating fuel                                                                                                            $                        0.00
                                                ..................................................................................................................................................
                b. Water and sewer                                                                                                                        $                        0.00
                c. Telephone       ..............................................................................................................................................................
                                                                                                                                                          $                    260.00
                d. Other      PG&E                                                                                                                        $                    125.00
                  Other       cable/dsl
                             ...................................................................................................................................................................
                                                                                                                                                          $                    100.00

 3. Home maintenance (repairs and upkeep)                                                                                                                 $                         0.00
                                                   ..............................................................................................................................................
 4. Food                                                                                                                                             $                     400.00
 5. Clothing                                                                                                                                         $                     100.00
             .................................................................................................................................................................................
 6. Laundry and dry cleaning                                                                                                                         $                        0.00
 7. Medical and dental expenses                                                                                                                           $                        0.00
                                         ........................................................................................................................................................
 8. Transportation (not including car payments)                                                                                                           $                     350.00
 9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                                                                     $                         0.00
                                                                             ..................................................................................................................
 10. Charitable contributions                                                                                                                             $                        0.00
 11. Insurance (not deducted from wages or included in home mortgage payments)
              a. Homeowner's or renter's                                                                                                                  $                         0.00
                                             ....................................................................................................................................................
              b. Life                                                                                                                                     $                        0.00
              c. Health                                                                                                                                  $                     400.00
                           ......................................................................................................................................................................
              d. Auto                                                                                                                                 $                       92.00
              e. Other                                                                                                                                $                         0.00
                      ........................................................................................................................................................................
                Other                                                                                                                                 $                         0.00


  12. Taxes (not deducted from wages or included in home mortgage)
  (Specify)       Self Employment                                                                                                                         $                     250.00
  13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the plan)
           a. Auto                                                                                                                                        $                         0.00
                          ........................................................................................................................................................................
           b. Other:      Honda Lease                                                                                                                     $                     550.00
           c. Other:      Scion      purchase                                                                                                                                   360.00
                          ........................................................................................................................................................................
                                                                                                                                                          $


  14. Alimony, maintenance, and support paid to others                                                                                                    $                        0.00
                                                              ..................................................................................................................................
  15. Payments for support of additional dependents not living at your home                                                                              $                        0.00
  16. Regular expenses from operation of business, profession, or farm (attach detailed statement)                                                       $                 1,300.00
                                                                                                         ....................................................................................
  17. Other:      miscellaneous                                                                                                                          $                        0.00
     Other:                                                                                                                                              $                        0.00
                  ...............................................................................................................................................................................
                                                                                                                                                                                   0.00
  18. AVERAGE MONTHLY EXPENSES Total lines 1-17. Report also on Summary of Schedules                                                                      $                 6,487.00
     and, if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
  19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year following the filing of this document:
      Lorelei Mangan's rent of $2,200 begins 2/1/2010.
  20. STATEMENT OF MONTHLY NET INCOME                   (For Total Monthly Net Income, see Line 20 on Debtor's Schedule J)
      a. Average monthly income from Line 16 of Schedule I                                                                                                $
      b. Average monthly expenses from Line 18 above                                                                                                      $
      c. Monthly net income (a. minus b.)                                                                                                                 $


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                                            UNITED STATES BANKRUPTCY COURT
                                            NORTHERN DISTRICT OF CALIFORNIA


In re: Barry Thomas Mangan                                                                                            Case No.
       and
       Lorelei Lynn Mangan


                                                           STATEMENT OF FINANCIAL AFFAIRS
           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether
or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not diclose the child's name. See, 11
U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).

          Questions 1-18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19-25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer to
any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.



                                                                           DEFINITIONS
          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within the six years immediately preceding the filing of this bankruptcy case,
any of the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a
partner, other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor my also be "in
business" for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement
income from the debtor's primary employment.

           "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting
or equity securities of a corporation debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the
debtor. 11 U.S.C. §101.




         1. Income from employment or operation of business
 None     State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business, including
          part-time activities either as an employee or in independent trade or business, from the beginning of this calendar year to the date this case was
          commenced. State also the gross amounts received during the two years immediately preceding this calendar year. (A debtor that maintains, or has
          maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates of
          the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must
          state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

AMOUNT                                                   SOURCE

Year to date:-0- (2010)                                  Self employed real estate agent (Barry Mangan)
   Last Year:$71,820.00                                  Self employed real estate agent (Barry Mangan)
Year before:$55,683.00                                   Self employed real estate agent (Barry Mangan)


Year to date:-0- (2010)                                  Self employed real estate agent (Lorelei Mangan)
   Last Year:$34,000.00                                  Self employed real estate agent (Lorelei Mangan)
Year before:$$90,157.00                                  Self employed real estate agent (Lorelei Mangan)


         2. Income other than from employment or operation of business
 None     State the amount of income received by the debtor other than from employment, trade, profession, operation of the debtor's business during the two years
          immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse separately. (Married
          debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed, unless the spouses are separated and



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        a joint petition is not filed.)

AMOUNT                                                   SOURCE

Year to date:$800.00 (2010)                              rental income duplex
   Last Year:$20,000.00                                  rental income duplex & cabin
Year before:$16,518.00                                   rental income duplex & cabin


        3. Payments to creditors
None    Complete a. or b., as appropriate, and c.

        a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or services, and other debts to any
        creditor, made within 90 days immediately preceding the commencement of this case unless the aggregate value of all property that constitutes or is
        affected by such transfer is less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support
        obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and creditor counseling agency. (Married debtors
        filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are
        separated and a joint petition is not filed.)




None    b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days immediately preceding the
        commencement of this case unless the aggregate value of all property that constitutes or is affected by such transfer is less than $5,475. If the debtor is
        an individual, indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support obligation or as part of an alternative
        repayment schedule under a plan by an approved nonprofit budgeting and creditor counseling agency. (Married debtors filingunder chapter 12 or chapter 13
        must include payments and other transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
        petition is not filed.)




None    c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors who are or
        were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint petition is filed,
        unless the spouses are separated and a joint petition is not filed.)




        4. Suits and administrative proceedings, executions, garnishments and attachments
None    a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this bankruptcy case.
        (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint petition is filed, unless
        the spouses are separated and a joint petition is not filed.)

CAPTION OF SUIT                                                                         COURT OR AGENCY
AND CASE NUMBER                           NATURE OF PROCEEDING                            AND LOCATION                                STATUS OR DISPOSITION

Altera Real Estate                        collection                                    Santa Clara County                            stipulation for
v. Lorelei Mangan;                                                                      Superior Court                                payment


None    b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately preceding the
        commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both spouses
        whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


NAME AND ADDRESS OF PERSON FOR                                            DATE OF
WHOSE BENEFIT PROPERTY WAS SEIZED                                         SEIZURE                    DESCRIPTION AND VALUE OF PROPERTY

Name:Internal Revenue Service                                             11/2009                    Description:2008 federal and state
Address:                                                                                             tax refund taken by IRS; $5,820.00
                                                                                                     seized.


        5. Repossessions, foreclosures and returns
None    List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned to the seller,
        within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information
        concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


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                                                              DATE OF
                                                              REPOSSESSION
NAME AND ADDRESS                                              FORECLOSURE SALE,
OF CREDITOR OR SELLER                                         TRANSFER OR RETURN                   DESCRIPTION AND VALUE OF PROPERTY

Name:Wachovia Bank                                            NOD recorded                         Description:first loan on residence
Address:                                                      10/7/09                              in foreclosure; loan balance of
                                                                                                   $852,359.15
                                                                                                   Value: residence valued at
                                                                                                   $799,000.00


Name:Americas Servicing                                       NOD recorded                         Description:first loan on rental
Company                                                       10/15/2009                           cabin foreclosing; loan balance of
Address:                                                                                           $239,855.53
                                                                                                   Value:cabin valued at $200,000.00


Name:BAC Home Loan                                            NOD recorded                         Description:first loan foreclosing
Address:                                                      11/2009                              on rental duplex; loan balance of
                                                                                                   $192,902.00
                                                                                                   Value:duplex valued at $200,000.00


         6. Assignments and receiverships
None     a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this case. (Married
         debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition is filed, unless the
         spouses are separated and a joint petition is not filed.)




None     b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately preceding the
         commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both spouses
         whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




         7. Gifts
None     List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and usual gifts to
         family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100 per recipient.
         (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a joint petition is filed,
         unless the spouses are separated and a joint petition is not filed.)




         8. Losses
None     List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the
         commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not a joint
         petition is filed, unless the spouses are separated and a joint petition is not filed.)




         9. Payments related to debt counseling or bankruptcy
None     List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt
         consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the commencement of
          this case.

                                                       DATE OF PAYMENT,                   AMOUNT OF MONEY OR
NAME AND ADDRESS OF PAYEE                              NAME OF PAYER IF OTHER THAN DEBTOR DESCRIPTION AND VALUE OF PROPERTY



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                                                        DATE OF PAYMENT,                   AMOUNT OF MONEY OR
NAME AND ADDRESS OF PAYEE                               NAME OF PAYER IF OTHER THAN DEBTOR DESCRIPTION AND VALUE OF PROPERTY

Payee: Craig V. Winslow                                 Date of Payment:                                             $3,500.00
Address:                                                Payor: Barry Thomas Mangan
630 No. San Mateo Drive
San Mateo, CA 94401


        10. Other transfers
None    a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred either absolutely
        or as security within two years immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include
        transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF
TRANSFEREE, RELATIONSHIP TO DEBTOR                             DATE                   DESCRIBE PROPERTY TRANSFERRED AND VALUE RECEIVED

Transferee:Ms. Hien Nguyen                                     12/17/2009             Property:2000 Toyota Avalon sold for
Address:                                                                              $7,000.00; debtor netted $2,000.00 from
Relationship:none                                                                     sale.


Transferee:Stevens Creek Toyota                                6/24/2008              Property:1999 Chevrolet Suburban traded in
Address:                                                                              for $5,000.00 downpayment on Scion
Relationship:none



None    b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled trust or similar device
        of which the debtor is a benificiary.




        11. Closed financial accounts
None    List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise transferred
        within one year immediately preceding the commencement of this case. Include checking, savings, or other financial accounts, certificates of deposit, or
        other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations, brokerage houses and other financial
        institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning accounts or instruments held by or for either or both
        spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                            TYPE OF ACCOUNT, LAST FOUR
                                                            DIGITS OF ACCOUNT NUMBER                                        AMOUNT AND DATE
NAME AND ADDRESS OF INSTITUTION                             AND AMOUNT OF FINAL BALANCE                                     OF SALE OR CLOSING

Institution:Wells Fargo Bank                                Account Type and                                                closed 12/2009
Address:                                                    No.:checking & savings
                                                            Final Balance:$130.00


Institution:Bank of America                                 Account Type and                                                closed 12/2009
Address:                                                    No.:Savings
                                                            Final Balance:$5.00


Institution:Wells Fargo Bank                                Account Type and                                                closed 1/2010
Address:                                                    No.:Checking
                                                            Final Balance:-0-


        12. Safe deposit boxes
None    List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year immediately preceding
        the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or both spouses whether



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         or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF BANK OR                               NAMES AND ADDRESSES OF                                  DESCRIPTION OF           DATE OF TRANSFER
OTHER DEPOSITORY                                          THOSE WITH ACCESS TO BOX                                CONTENTS                 OR SURRENDER,
                                                          OR DEPOSITORY                                                                    IF ANY


Institution:Wells Fargo                                   Name:Barry Mangan                                       papers of no             closed 11/2009
Bank                                                      Address:                                                commercial
Address:                                                                                                          value


         13. Setoffs
None     List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the commencement of this case.
         (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint petition is filed, unless
         the spouses are separated and a joint petition is not filed.)




         14. Property held for another person
None     List all property owned by another person that the debtor holds or controls.




NAME AND ADDRESS OF OWNER                                                 DESCRIPTION AND VALUE OF PROPERTY                           LOCATION OF PROPERTY

Owner:former clients of Barry                                             Description:Attorney Client                                 Wells Fargo Bank
Mangan                                                                    Trust Account
Address:                                                                  Value:$8,253.46


         15. Prior address of debtor
None     If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor occupied during that
         period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either spouse.

                                                                                                                                               DATES OF
ADDRESS                                                                   NAME USED                                                            OCCUPANCY

Debtor:                                                                   Name(s):Lorelei Mangan                                               until date
Address:1842 Frobisher Way, San                                                                                                                of filing of
Jose, CA                                                                                                                                       petition


Debtor:                                                                   Name(s):Barry Mangan                                                 8/2009 to
Address:5228 Pilar Court, San                                                                                                                  date of
Jose                                                                                                                                           filing


Debtor:                                                                   Name(s):Barry Mangan                                                 until 4/2009
Address:1842 Frobisher Way, San
Jose, CA


Debtor:                                                                   Name(s):Barry Mangan                                                 4/2009 tp
Address:1815 Hillsdale Ave.,                                                                                                                   8/2009
San Joses, CA


         16. Spouses and Former Spouses
None     If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada,
         New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the commencement of the case, identify the name of
         the debtor's spouse and of any former spouse who resides or resided with the debtor in the community property state.



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        17. Environmental Information
None    For the purpose of this question, the following definitions apply:

        "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic substances,
        wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or regulations regulating the
        cleanup of these substances, wastes, or material.

        "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated by the
        debtor,
        including, but not limited to disposal sites.

        "Hazardous Material" means anything defined as hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or contaminant or
        similar termunder an Environmental Law:

        a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or potentially liable
        under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the Environmental Law:




None    b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material. Indicate the
        governmental unit to which the notice was sent and the date of the notice.




None    c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law, with respect to which the debtor is or was a
        party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.




        18. Nature, location and name of business
None    a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending dates of all
        businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a partnership, sole proprietor, or was
        self-employed in a trade, profession, or other activity either full- or part-time within six years immediately preceding the commencement of this case, or in
        which the debtor owned 5 percent or more of the voting or equity securities within six years immediately preceding the commencement of this case

                 If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates of
        all businesses     in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six years immediately preceding the
        commencment of this case.

                 If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates of
        all businesses     in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six years immediately preceding the
        commencment of this case.


                                      LAST FOUR DIGITS OF                                                                                        BEGINNING AND
NAME                                  SOCIAL-SECURITY OR                     ADDRESS                       NATURE OF BUSINESS                    ENDING DATES
                                      OTHER INDIVIDUAL
                                      TAXPAYER-I.D. NO.
                                      (ITIN)/ COMPLETE EIN


Barry Mangan                          ID:                                                                  real estate                           1984 to
                                                                                                           agent                                 date of
                                                                                                                                                 filing


Lorelei Mangan                        ID:                                                                  real estate                           1987 to
                                                                                                           agent                                 date of
                                                                                                                                                 filing


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 None    b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.




            The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or
has been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership; a sole
proprietor, or self-employed in a trade, profession, or other activity, either full- or part-time.

             (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)




         19. Books, records and financial statements
 None    a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or supervised the keeping of
         books of account and records of the debtor.

NAME AND ADDRESS                                                                                                                              DATES SERVICES RENDERED

Name:LMGW Certified Public Accountants                                                                                                        Dates:2008 and prior
Address:


 None    b. List all firms or individuals who within two years immediately preceding the filing of this bankruptcy case have audited the books of account and records,
         or prepared a financial statement of the debtor.




 None    c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records of the debtor. If
         any of the books of account and records are not available, explain.




 None    d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was issued by the debtor
         within two years immediately preceding the commencement of this case.




         20. Inventories
 None    a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory, and the dollar
         amount and basis of each inventory.




 None    b. List the name and address of the person having possession of the records of each of the inventories reported in a., above.




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        21. Current Partners, Officers, Directors and Shareholders
None    a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.




None    b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns, controls, or holds 5
        percent or more of the voting or equity securities of the corporation.




        22. Former partners, officers, directors and shareholders
None    a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the commencement of this case.




None    b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year immediately preceding the
        commencement of this case.




        23. Withdrawals from a partnership or distribution by a corporation
None    If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation in any form, bonuses,
        loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the commencement of this case.




        24. Tax Consolidation Group.
None    If the debtor is a corporation, list the name and federal taxpayer-identification number of the parent corporation of any consolidated group for tax purposes
        of which the debtor has been a member at any time within six years immediately preceeding the commencement of the case.




        25. Pension Funds.
None    If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as an employer, has been
        responsible for contributing at any time within six years immediately preceding the commencement of the case.




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[If completed by an individual or individual and spouse]


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto and that
they are true and correct.



       Date      1/ 8/2010                      Signature     /s/ Barry Thomas Mangan
                                                of Debtor


                                                Signature     /s/ Lorelei Lynn Mangan
       Date      1/ 8/2010
                                                of Joint Debtor
                                                (if any)




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                                                 UNITED STATES BANKRUPTCY COURT
                                                 NORTHERN DISTRICT OF CALIFORNIA


In re Barry Thomas Mangan and Lorelei Lynn Mangan                                                                    Case No.
                                                                                                                     Chapter 7



                                                                                                          / Debtor




                                                      CHAPTER 7 STATEMENT OF INTENTION
       Part A -    Debts Secured by property of the estate. (Part A must be completed for EACH debt which is secured by property of the estate.
                   Attach additional pages if necessary.)


Property No. 1

Creditor's Name :                                                                 Describe Property Securing Debt :
 America's Servicing Co                                                            Rental Cabin - Twain Harte



  Property will be (check one) :

            Surrendered               Retained

  If retaining the property, I intend to (check at least one) :

            Redeem the property

            Reaffirm the debt

            Other. Explain      retain and pay                                                                 (for example, avoid lien using 11 U.S.C § 522 (f)).

  Property is (check one) :

            Claimed as exempt                   Not claimed as exempt

Property No. 2

Creditor's Name :                                                                 Describe Property Securing Debt :
 BAC Home Loans                                                                    Rental Duplex - Sonora



  Property will be (check one) :

            Surrendered               Retained

  If retaining the property, I intend to (check at least one) :

            Redeem the property

            Reaffirm the debt

            Other. Explain      retain and pay                                                                 (for example, avoid lien using 11 U.S.C § 522 (f)).

  Property is (check one) :

            Claimed as exempt                   Not claimed as exempt




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Property No. 3

Creditor's Name :                                                               Describe Property Securing Debt :
 Toyota Financial Services                                                       Scion



  Property will be (check one) :

            Surrendered               Retained

  If retaining the property, I intend to (check at least one) :

            Redeem the property

            Reaffirm the debt

            Other. Explain                                                                          (for example, avoid lien using 11 U.S.C § 522 (f)).

  Property is (check one) :

            Claimed as exempt                   Not claimed as exempt

Property No. 4

Creditor's Name :                                                               Describe Property Securing Debt :
 Wachovia Mortgage                                                               Residence



  Property will be (check one) :

            Surrendered               Retained

  If retaining the property, I intend to (check at least one) :

            Redeem the property

            Reaffirm the debt

            Other. Explain                                                                          (for example, avoid lien using 11 U.S.C § 522 (f)).

  Property is (check one) :

            Claimed as exempt                   Not claimed as exempt

Property No. 5

Creditor's Name :                                                               Describe Property Securing Debt :
 Wells Fargo                                                                     Volvo



  Property will be (check one) :

            Surrendered               Retained

  If retaining the property, I intend to (check at least one) :

            Redeem the property

            Reaffirm the debt

            Other. Explain                                                                          (for example, avoid lien using 11 U.S.C § 522 (f)).

  Property is (check one) :

            Claimed as exempt                   Not claimed as exempt




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Property No. 6

Creditor's Name :                                                               Describe Property Securing Debt :
 Wells Fargo                                                                     Residence



  Property will be (check one) :

            Surrendered               Retained

  If retaining the property, I intend to (check at least one) :

            Redeem the property

            Reaffirm the debt

            Other. Explain                                                                          (for example, avoid lien using 11 U.S.C § 522 (f)).

  Property is (check one) :

            Claimed as exempt                   Not claimed as exempt

Property No. 7

Creditor's Name :                                                               Describe Property Securing Debt :
 Ralph Bautista                                                                  Rental Cabin - Twain Harte



  Property will be (check one) :

            Surrendered               Retained

  If retaining the property, I intend to (check at least one) :

            Redeem the property

            Reaffirm the debt

            Other. Explain      retain and pay                                                      (for example, avoid lien using 11 U.S.C § 522 (f)).

  Property is (check one) :

            Claimed as exempt                   Not claimed as exempt

Property No. 8

Creditor's Name :                                                               Describe Property Securing Debt :
 Tuolumne County Tax Collector                                                   Rental Cabin - Twain Harte



  Property will be (check one) :

            Surrendered               Retained

  If retaining the property, I intend to (check at least one) :

            Redeem the property

            Reaffirm the debt

            Other. Explain      retain and pay                                                      (for example, avoid lien using 11 U.S.C § 522 (f)).

  Property is (check one) :

            Claimed as exempt                   Not claimed as exempt




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Property No. 9

Creditor's Name :                                                                 Describe Property Securing Debt :
 Tuolumne County Tax Collector                                                     Rental Duplex - Sonora



  Property will be (check one) :

            Surrendered               Retained

  If retaining the property, I intend to (check at least one) :

            Redeem the property

            Reaffirm the debt

            Other. Explain      retain and pay                                                                  (for example, avoid lien using 11 U.S.C § 522 (f)).

  Property is (check one) :

            Claimed as exempt                   Not claimed as exempt


       Part B -    Personal property subject to unexpired leases. (All three columns of Part B must be completed for each unexpired lease. Attach
                   additional pages if necessary.)

Property No. 1
Lessor's Name:                                                      Describe Leased Property:                                          Lease will be assumed
                                                                                                                                       pursuant to 11 U.S.C. §
 Honda Financial Services                                            lease for Honda Pilot                                             365(p)(2):

                                                                                                                                           Yes               No




                                                                        Signature of Debtor(s)
        I declare under penalty of perjury that the above indicates my intention as to any property of my estate securing a debt
        and/or personal property subject to an unexpired lease.

Date:       1/ 8/2010                                             Debtor: /s/ Barry Thomas Mangan

Date:       1/ 8/2010                                             Joint Debtor: /s/ Lorelei Lynn Mangan




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Rule 2016(b) (8/91)


                                    UNITED STATES BANKRUPTCY COURT
                                    NORTHERN DISTRICT OF CALIFORNIA

        Barry Thomas Mangan                                                                         Case No.
In re
          and                                                                                       Chapter 7
        Lorelei Lynn Mangan
                                                                                         / Debtor
        Attorney for Debtor:   Craig V. Winslow

                                   STATEMENT PURSUANT TO RULE 2016(B)

The undersigned, pursuant to Rule 2016(b), Bankruptcy Rules, states that:
1. The undersigned is the attorney for the debtor(s) in this case.

2. The compensation paid or agreed to be paid by the debtor(s), to the undersigned is:
   a) For legal services rendered or to be rendered in contemplation of and in
      connection with this case . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $            3,500.00
   b) Prior to the filing of this statement, debtor(s) have paid . . . . . . . . . . . . . . . $                   3,500.00
   c) The unpaid balance due and payable is . . . . . . . . . . . . . . . . . . . . . . . . . . . $                    0.00

3. $             299.00          of the filing fee in this case has been paid.

4. The Services rendered or to be rendered include the following:
   a) Analysis of the financial situation, and rendering advice and assistance to the debtor(s) in determining whether to
      file a petition under title 11 of the United States Code.
   b) Preparation and filing of the petition, schedules, statement of financial affairs and other documents required by the
      court.
   c) Representation of the debtor(s) at the meeting of creditors.

5. The source of payments made by the debtor(s) to the undersigned was from earnings, wages and compensation for
   services performed, and
      not applicable

6. The source of payments to be made by the debtor(s) to the undersigned for the unpaid balance remaining, if any, will
   be from earnings, wages and compensation for services performed, and
     not applicable

7. The undersigned has received no transfer, assignment or pledge of property from debtor(s) except the following for
   the value stated:
      not applicable

8. The undersigned has not shared or agreed to share with any other entity, other than with members of undersigned's
   law firm, any compensation paid or to be paid except as follows:
      not applicable

Dated: 1/ 8/2010                               Respectfully submitted,


                                              X /s/ Craig V. Winslow
                        Attorney for Petitioner: Craig V. Winslow
                                                 Law Office of Craig V. Winslow
                                                 630 No. San Mateo Drive
                                                 San Mateo CA 94401

                                               (650) 347-5445
                                               CVWinslow@aol.com


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                                  UNITED STATES BANKRUPTCY COURT
                                  NORTHERN DISTRICT OF CALIFORNIA



In re Barry Thomas Mangan                                                                  Case No.
      and                                                                                  Chapter 7
      Lorelei Lynn Mangan
                                                                            / Debtor
    Attorney for Debtor:   Craig V. Winslow




                                      CERTIFICATION OF CREDITOR MATRIX


                  I hereby certify that the attached matrix includes the names and addresses of all creditors listed

   on the debtor's schedules.




Dated:   1/ 8/2010                                                  /s/ Craig V. Winslow
                                                                    Debtor's Attorney




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                      Altera Real Estate
                      c/o West Coast Recovery
                      1501 Secret Ravine Pkwy       #317
                      Roseville CA 95661



                      American Express
                      PO Box 297879
                      Fort Lauderdale FL       33329



                      America's Servicing Co
                      PO Box 10328
                      Des Moines IA 50306



                      BAC Home Loans
                      PO Box 5170
                      Simi Valley CA        93062



                      Bank of America
                      P O Box 15026
                      Wilmington DE 19850-5026



                      Bank Of America
                      Po Box 1598
                      Norfolk VA 23501



                      Ralph Bautista
                      23386 Calle Pepita Road
                      Corona CA 92883




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                      Birch at Streamside HOA
                      c/o Larsen & Lynch
                      175 Main Street C-104
                      Edwards CO 81632



                      Cal-Western Reconveyance
                      PO Box 22004
                      El Cajon CA 92002



                      Honorene Carter
                      PO Box 4933
                      San Jose CA 95150



                      Chase
                      PO Box 15298
                      Wilmington DE     19850



                      Citi Platinum Select
                      P O Box 6000
                      The Lakes NV 89163-6000



                      Discover
                      P O Box 30943
                      Salt Lake City    UT    84130



                      First American Loanstar
                      P O Box 961253
                      Fort Worth TX 76161




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                      Gemb/Chevron
                      Attn   Bankruptcy Department
                      PO Box 10314
                      Roswell GA 30076



                      GEMB/JCPenney
                      ATTN   Bankruptcy Dept
                      PO Box 103104
                      Roswell GA 30076



                      Gemb/Mervyns
                      PO Box 981400
                      El Paso TX 79998



                      James Georgianni
                      PO Box 4933
                      San Jose CA 95150



                      Cecilia Henderson
                      1703 Silverwood Drive
                      San Jose CA 95124



                      Eric Henderson
                      PO Box 2501
                      Palmer AK 99645



                      Honda Financial Services
                      PO Box 5025
                      San Ramon CA 94583




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                      Househunt Inc
                      19671 Beach Blvd       Ste 208
                      Huntington Beach      CA 92648



                      Internal Revenue Service
                      Insolvency Group 5
                      58 So Market Street
                      San Jose CA 95113



                      Internal Revenue Service
                      Centralized Insolvency
                      P O Box 21126
                      Philadelphia PA 19114



                      Kaiser Foundation Health Plan
                      PO Box 7141
                      Pasadena CA 91109



                      Macys
                      Bankruptcy Processing
                      PO Box 8053
                      Mason OH 45040



                      Helen Mangan
                      2750 Artesia Blvd      #343
                      Redondo Beach CA      90278



                      Marriotts Vacation Internat'l
                      PO Box 8038
                      Lakeland FL 33802




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                      Nordstrom
                      P O Box 79137
                      Phoenix AZ   85062-9137



                      Phillips 66 - Conoco - 76
                      PO Box 689140
                      Des Moines IA 50368-9140



                      Douglas Roth
                      1688 Willow Street #F
                      San Jose CA 95125



                      Sears Card
                      P O Box 6283
                      Sioux Falls SD        57117-6283



                      Target National Bank
                      PO Box 59317
                      Minneapolis MN 55459-0317



                      The Home Depot
                      P O Box 689100
                      Des Moines IA 50368-9100



                      Toyota Financial Services
                      PO Box 60114
                      City of Industry CA 91716




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                      Tuolumne County Tax Collector
                      PO Box 3248
                      Sonora CA 95370



                      Valero
                      PO Box 631
                      Amarillo TX     79105



                      Wachovia Mortgage
                      Loan Svc Customer Support
                      P O Box 659558
                      San Antonio TX 78265



                      Wells Fargo
                      PO Box 10347
                      Des Moines IA     50306



                      Wells Fargo
                      P O Box 10347
                      Des Moines IA     50306



                      Wells Fargo
                      PO Box 29704
                      Phoenix AZ 85038



                      Zillow com
                      999 3rd Avenue Ste 4600
                      Seattle WA 98104




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